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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

   BIODELIVERY SCIENCES                        )
   INTERNATIONAL, INC. and ARIUS               )
   TWO, INC.,                                  )
                                               )
                      Plaintiffs,              )
                                               )   C.A. No. 18-1395 (CFC) (CJB)
         v.                                    )
                                               )
   ALVOGEN PB RESEARCH &                       )
   DEVELOPMENT LLC, ALVOGEN                    )
   MALTA OPERATIONS LTD.,                      )
   ALVOGEN PINE BROOK LLC,                     )
   ALVOGEN, INC., and ALVOGEN                  )
   GROUP, INC.,                                )
                                               )
                      Defendants.              )

          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ PROPOSED
           FINDINGS OF FACT AND SUPPLEMENTAL FINDINGS

         Plaintiffs, pursuant to the Court’s oral order (Tr.956:16-24), have responded

   to each of Defendants’ 275 proposed findings of fact. Plaintiffs’ responses to

   Defendants’ Findings are called “DFF.” Plaintiff has also supplemented its

   responses with its own proposed finding of fact, “PFF” as appropriate.

         Defendants Finding No. 1.       The Tapolsky patents are generally directed
         to a bioerodable mucoadhesive (“BEMA”) device that includes (1) a
         polymeric diffusion environment (or “mucoadhesive layer”) containing the
         drug, at least one film-forming water-erodible adhesive polymer and at least
         one bioadhesive polymer, and (2) a backing layer (or barrier layer) to
         provide a “unidirectional gradient” of the drug toward the mucosal surface
         and prevent the drug from being swallowed. (See generally DTX-173, see
         also Tr. 106:17-109:21.)


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          DFF1.       Denied. Defendants do not define what they mean by

   “Taposkly patents.” The only “Tapolsky” reference admitted into evidence and

   referred to at trial was US2005/0147658 A1 (“Tapolsky-2005”), which is DTX-

   173.

           Tapolsky-2005 does not describe a “BEMA device” as that phrase is used

   in the patents-in-suit. Tapolsky-2005 does not use the term “BEMA,” nor the

   expression it stands for—“Bioerodable MucoAdhesive Layer. DTX-0173.

   “BEMA” is the trademarked name of the technology developed by BDSI that is

   used to develop their transmucosal products. DTX-019-0007.

          Tapolsky describes a two-layer device. This device, however, does not

   contain a polymeric diffusion environment, as understood in the patents-in-

   suit. The ’866 patent states that the “novel polymeric diffusion environment”

   enhances the “absolute bioavailability of the medicament contained therein,” and

   also provides “rapid onset.” JTX-0001, col.4:31-37; (Tr.584:18-585:1). The flux

   of the medicament from the polymeric diffusion environment into the mucosa can

   be enhanced by taking into the account the pH and the ionic nature of the

   polymers. (JTX-0001, col.6:16-24.) It was the inventors of the patents-in-suit that

   developed the polymeric diffusion environment buffered to a particular pH range

   that resulted in “tremendous” and “unexpected” bioavailability for

   buprenorphine. (Tr.750:16-23; 802:21-24.)


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         Tapolsky-2005 only states that a film-forming water erodible adhesive

   polymer and a bioadhesive polymer “may” be used. (DTX-173, ¶31.) Tapolsky-

   2005 does not teach a two-layered device with unidirectional delivery. Taopilsky-

   2005 describes a two layered device that “provides some directional release.”

   (DTX-173 at ¶ 58.) To obtain specific unidirectional delivery, Tapolsky-2005

   describes needing a third layer. (Id.)

                PFF1. Tapolsky-2005 does not teach a polymeric diffusion

                environment buffered to a particular pH (Tr.262:4-9, 652:3-5), as

                recited in the asserted claims of the patents-in suit.

         Defendants Finding No. 2.      The Tapolsky patents are platform
         technology useful for many categories of drugs, including opioids. For
         example, Tapolsky identifies butorphanol as an exemplary opioid for use in
         the patented BEMA device. (DTX-173 at [0053], see also Tr. 112:16-23.)

         DFF2.         Denied. See Resp. DFF1; PFF1-6.

                PFF2. Tapolsky-2005 includes butorphanol in a laundry list of more

                than 200 pharmaceutical compounds, and nowhere indicates that

                butorphanol is “as an exemplary opioid.” The term “opioid” is not

                even used in Tapolsky-2005. See DTX-173; (Tr.261:16-262:3).

                PFF3. In the paragraph mentioning butorphanol, Tapolsky-2005 lists

                more than 70 other compounds and calls these compounds “[o]ther

                pharmaceuticals.” (Tr.261:20-262:3); DTX-173, ¶53.



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               PFF4. Tapolsky-2005 identifies numerous classes of pharmaceutical

               compounds suitable for its device (DTX-173, ¶¶48-51), but does not

               identify opioids.

               PFF5. A POSA could not predict how buprenorphine would behave

               in the claimed devices based on the chemical structure of butorphanol.

               (Tr.744:22-745:20, 746:8-20, 254:17-255:6, 256:13-15, 278:20-22.)

               PFF6. “Different active agents may behave differently within the

               delivery platform of Tapolsky-2005 because their physical and

               chemical properties are likely to differ.” (Tr.260:5-261:3.)

         Defendants Finding No. 3.       The ’866 and ’843 patents generally claim a
         Tapolsky BEMA device containing buprenorphine, wherein the polymeric
         diffusion environment is buffered to a pH that is optimal for the dissolution,
         ionization and absorption of buprenorphine. (See generally JTX-001, JTX-
         002, see also Tr. 200:21-201:5.)

         DFF3.        Denied. See Resp. DFF1; see PFF1-14.

               PFF7. A POSA would not have been able to predict how different

               chemical compounds would behave in the devices of Tapolsky-2005

               based on Tapolsky’s experimentation in dogs with testosterone and

               albuterol sulfate. DTX 173-0015, ¶131; (Tr.260:5-261:3, 256:9-15,

               422:19-23, 423:3-11, 742:1-744:20, 808:16-809:6).

               PFF8. Tapolsky-2005 does not describe working with buprenorphine,

               the administration of buprenorphine to a subject, the enhanced uptake


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               of buprenorphine, the rapid and efficient delivery of buprenorphine,

               the polymeric diffusion environment developed by the inventors that

               results in enhanced bioavailability, or buffering that environment to a

               pH between 4 and 6, or between 4.5 and 5.0, or between 4 and 7.5.

               (Tr.262:4-9, 421:17-19, 621:23-624:3, 652:3-7; 742:20-743:1;) DTX-

               173; JTX-365-0004; PFF12. These elements are claimed by the ’866

               and ’843 patents. JTX-0001-0019; JTX-0002-0021.

               PFF9. Tapolsky-2005 does not describe an effective plasma

               concentration of buprenorphine for at least four hours or a first

               quantifiable plasma concentration of buprenorphine at 45 minutes, as

               recited in claims 4 and 5 of the ’866 patent. JTX-0001-0019;

               (Tr.262:13-15, 810:1-20.) A POSA would understand from Tapolsky-

               2005 that the first quantifiable plasma measurement of albuterol

               sulfate was at time zero. (Tr.422:19-23, 808:16-809:25.) Tapolsky-

               2005 does not disclose what constitutes an effective plasma

               concentration of albuterol sulfate. (Tr.422:24-423:2, 810:9-20.)

               PFF10. The inventors of the patents in suit experimented with the

               polymers of the layers of the device to create a series of different

               formulations containing different combinations of polymers in certain




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               ratios (P1 through F24) through the course of many years. (DTX 370-

               0026-0043).

               PFF11. As stated by Dr. Vasisht, an inventor of the ’866 and ’843

               patents: “Of course, the bilayer product that was developed that

               enabled the mucoadhesive layer that comprises the buprenorphine and

               a polymeric diffusion environment, that was something that I

               created.” Tr.750:17-20.

               PFF12. The invention claimed in the ’866 and ’843 patents is

               directed to the enhanced uptake of buprenorphine, as measured by

               bioavailability and maximum plasma concentration. See e.g., JTX-

               001-0001, 0006, 0007, 0018, claim 1. The pH ranges described and

               claimed in the ’866 and ’843 patents result in such enhanced uptake.

               JTX-0365-0004; Tr.648:6-650:21, 799:9-804:1, 941:3-945:19; JTX-

               365-0003-04; JTX-352-0007; JTX-353-2009, 1123, 2004; JTX-0349-

               0042-43.

                     PFF12.1 Data from the underlying buprenorphine studies

                     (BUP-101, BUP-110, and BUP-115) were presented to the PTO

                     during the prosecution of the ’866 patent. JTX-365-0004; JTX-

                     352-0007; JTX-353-2009, 1123, 2004; JTX-0349-0042-43.




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                    PFF12.2 Based on the strong trend when plotting the BEMA 1-

                    7 data in the Finn declaration, a POSA would conclude that

                    Cmax and bioavailability increased as pH of the BEMA devices

                    decreased. Tr.438:25-439:6, 649:7-24, 802:25-803:18, 941:9-

                    942:7.

                    PFF12.3 As an example, the Cmax for BEMA 2 was 43%

                    higher than the Cmax for Suboxone. Tr.943:8-944:2.

                    PFF12.4 A POSA would not have expected the increases in

                    Cmax and bioavailability data for the BEMA 1-7 devices as the




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                     pH of the BEMA devices decreases. Tr.650:9-21, 800:20-

                     804:1.

                     PFF12.5 A linear regression comparing bioavailability and

                     Cmax data to pH for BEMA 1-7 shows that the trend in

                     increasing bioavailability and Cmax as pH decreases is

                     statistically significant and an appropriate interpretation of the

                     data. Tr.437:22-439:22, 441:15-23, 945:5-945:19.

               PFF13.    The claims of ’866 and ’843 patents recite a bi-layer device,

               containing a mucoadhesive polymeric diffusion layer and a barrier

               (referred to often as a “backing layer”) that has “enhanced direct

               transmucosal delivery” of buprenorphine. Buprenorphine is disposed

               in the mucoadhesive polymeric diffusion layer (also called “polymeric

               diffusion environment”). (Tr.584:18-585:1.) The two layers provide a

               unidirectional gradient so that buprenorphine is delivered from the

               mucoadhesive layer to the mucosal surface. (Tr.585:2-9, 585:5-

               586:20.) Both layers in the claimed invention are bioerodible.

               (Tr.585:19-586:4.)

               PFF14. The ’866 and ’843 patents describe that the backing layer is

               significantly thicker than the mucoadhesive layer, so that the device

               maintains a unidirectional flow of buprenorphine from the


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                mucoadhesive layer to the mucosal membrane, such that it is not

                washed away by saliva. (Tr.592:8-593:25); JTX-0001, col.17:44-57.

         Defendants Finding No. 4.         The ’539 patent is generally directed to a
         Tapolsky BEMA device disclosed in Vasisht I, wherein the backing layer is
         buffered to a pH of 4.0 to 4.8. (See generally JTX-003, see also Tr. 209:18-
         210:3.)

         DFF4.        Denied. The ’539 patent does not describe a “Tapolsky BEMA

   device.” See Resp. DFF1; PFF1-6, 9-10, 12.

         Defendants Finding No. 5.        A POSA would have a bachelor’s degree in
         pharmaceutical sciences, chemistry or related field, plus three to five years
         of relevant experience in developing transmucosal dosage forms.
         Alternatively, a POSA would have a Ph.D. in one of those fields and less
         practical experience. (Tr. 87:10-25.)

         DFF5.        Denied. While Plaintiffs disagree with Defendants’ definition,

   this issue is moot as Plaintiffs’ counsel explained that the non-obviousness issue

   would be the same if Defendants’ definition was accepted. (Tr.88:1-16.)

         Defendants Finding No. 6.       At trial, BDSI did not object to this
         description of a POSA, and, Dr. Robert Williams testified that his opinions
         on behalf of BDSI would not change in view of this definition of a POSA.
         (Tr. 88:1-88:14, 721:22-722:4.)

         DFF6.        Denied. See Resp. DFF5. Further, there is no citation to Dr.

   Williams’ testimony provided in the finding.

         Defendants Finding No. 7.       Buprenorphine, discovered in 1966, is an
         opioid analgesic known to treat acute and chronic pain. (DTX-165-0001-
         0003, 0008-0009; JTX-471-0003; Tr. 96:15-25, 97:19-98:1, 98:3-22.)

         DFF7.        Denied. See PFF15-17.



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               PFF15. As of 2006, in the United States, buprenorphine was not

               approved for the treatment of chronic pain. DTX-165-0001-0002,

               0005-0006; Tr.515:4-23, 518:5-16, 520:4-523:7, 524:24-526:22,

               542:2-8; 875:13-877:9, 878:17-879:9; JTX-471-0003, Fig. 1.

               PFF16. As of March 2005, Johnson explained that “[i]n the United

               States, the sublingual formulation has been recently approved for the

               treatment of opioid addiction (but not as an analgesic).” (DTX-165-

               0002.)

               PFF17. As of March 2005, Johnson explained that “[i]n the United

               States, buprenorphine, used as an analgesic, is only approved for

               parenteral administration, typically by the intramuscular or

               intravenous route.” (DTX-165-0005-06.) These formulations were

               indicated “for the treatment of moderate to severe pain.” (DTX-165-

               0009.)

         Defendants Finding No. 8.        The history of buprenorphine is generally set
         forth in the following timeline:




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         (DDX1-10; JTX-471-0003; Tr. 480:8-482:19.)

         DFF8.       Denied. The timeline does not show the entire the history of

   buprenorphine. It does not include the approval of BELBUCA.

         Defendants Finding No. 9.        POSAs knew buprenorphine to have “high
         first pass effect,” which means that the liver destroys and renders the
         buprenorphine less effective if swallowed. (DTX-077-0001; JTX-248-0001;
         DTX-165-0002, 0005; Tr. 91:2-92:13, 94:20-95:3, 97:12-18.)

         DFF9.       Admitted.

         Defendants Finding No. 10.       Because of its known first pass effect,
         POSAs attempt to formulate buprenorphine as intravenous solutions, nasal
         sprays, sublingual tablets and buccal films. (DTX-077-0001; JTX-248-0001;
         DTX-165-0002; Tr. 91:10-19, 92:14-18, 94:20-95:16, 99:11-15.)

         DFF10.      Plaintiffs do not understand this Finding and thus deny it. By

   2006, the known oral transmucosal buprenorphine formulations had poor

   bioavailability. (DTX-165-0006-0007, Figure 3.)




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               PFF18. Intramuscular injection of buprenorphine had a

               bioavailability of about 70%. DTX-165-0007, Figure 3; Tr.517:10-

               15.

               PFF19. Sublingual liquid formulations of buprenorphine, like Todd

               (DTX-174), that used 30% ethanol had a bioavailability of about 30%.

               DTX-165-0006; Tr.512:8-514:15.

               PFF20. Buccal strips available as of 2005 had a bioavailability of

               about 28 to 35%. DTX-165-0007, Figure 3; Tr.521:6-11; 276:18-21.

               PFF21. Suboxone® sublingual tablets have a bioavailability of

               approximately 25%. DTX-165-0007 at Figure 3; Tr.521:12-522:8;

               JTX-0365-0004.




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                PFF22. The oral bioavailability of buprenorphine is approximately

                10%. (DTX-165-0002, 0005, 0007 Fig. 3.)

         Defendants Finding No. 11.      BEMA devices deliver a drug directly to the
         oral mucosa and thus avoid first pass metabolism. (DTX-173-0001-0002 at
         abstract, [0002]; JTX-248-0001-0002; Tr. 106:12-107:3, 109:12-21.)

         DFF11.       Denied. “BEMA devices” within the meaning of the patents-

   in-suit did not exist in the prior art. See Resp. DFF1. Further, JTX-248 (Cassidy),

   cited by Defendants, teaches non-woven and hydrogel formulations. (Tr.269:9-11.)

         Defendants Finding No. 12.        Dr. Michniak-Kohn testified about the
         working mechanism of BEMA devices. (Tr. 131:19-134:9.) Generally, the
         user applies the BEMA device to the cheek inside the mouth (“buccal
         surface”). (Tr. 132:3.) Saliva in the mouth (which is mostly water) activates
         the mucoadhesive polymers, causing the BEMA device to adhere to the
         mouth. (Tr. 132:3-13.) As the saliva penetrates the BEMA device, the
         polymers in the mucoadhesive layer begin to swell. (Tr. 132:14-17). The pH
         buffers dissolve in the saliva and lower its pH, allowing it to dissolve and
         ionize the buprenorphine. (Tr. 132:14-20; 132:22-133:6, 133:15-21.) The
         dissolved and ionized buprenorphine then moves through the mucoadhesive
         layer by concentration gradient and permeates the mucosal surface, where it
         is absorbed into the bloodstream. (Tr. 133:10-134:2.)

         DFF12.       Denied. To the extent this finding is meant to describe how the

   inventions claimed in the ’866 or ’843 patents function, Plaintiffs disagree with Dr.

   Michniak-Kohn’s description for the reasons set forth in PFF23-28.

                PFF23. The invention claimed in the patents-in-suit achieved

                increased solubility because buprenorphine was “molecular dispersed

                or dissolved” in the polymers and other excipients of the



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               mucoadhesive layer creating what is referred to as a “solid solution.”

               Tr.588:9-20, 621:15-622:12, 751:10-752:3.

               PFF24. Unlike Dr. Michniak-Kohn, who theorized that the

               buprenorphine is present in the invention as solid particles, and then

               must first to “go into the water or the saliva and have to become

               soluble” to cross the mucosa (Tr.153:12-20, 131:24-132:8), Dr.

               Williams (and Dr. Vasisht) explained that buprenorphine is already

               dissolved in the polymers and exists as molecules, there are not solid

               “particles” of buprenorphine that first need to dissolve in saliva.

               Tr.588:12-20, 611:4-19, 701:16-22, 751:23-752:3,756:24-757:1.

               PFF25. The local pH and/or the pH of the saliva, contrary to Dr.

               Michniak-Kohn, is not the relevant consideration. It is the pH of

               polymeric diffusion environment where buprenorphine is already

               solubilized when the mucoadhesive layer is hydrated as it comes into

               direct contact with the buccal mucosa that is relevant to how the

               claimed invention functions. Tr.611:20-612:22.

               PFF26. Once the mucoadhesive layer attaches to the buccal mucosa,

               there is a concentration gradient where there are high levels of

               buprenorphine in the mucoadhesive layer, “[a]nd with that gradient,




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               that establishes the flux or the diffusion form the mucoadhesive layer

               directly into the mucosal layer.” Tr.586:21-587:19, 593:8-13.

               PFF27. Dr. Vasisht was asked whether the buprenorphine becomes

               “hydrated” when the mucoadhesive film sticks to the surface of the

               buccal mucosa. (Tr.752:4-10.) Dr. Vasisht responded:

               “Buprenorphine is in a solution state, dissolved in the mucoadhesive

               layer. So I -- I don't understand the question in terms of hydration of

               buprenorphine.” (Id.)

               PFF28. Dr. Michniak-Kohn (who did no testing of her own), has

               never designed any transmucosal products or formulated any

               marketed opioid products (Tr.257:21-23, 295:3-296:2), and does not

               understand the claimed invention better than Dr. Vasisht (who

               successfully designed and marketed fentanyl and buprenorphine

               transmucosal products (Tr.755:1-12)) or Dr. Williams (who

               successfully designed buccal products for the delivery of opioids

               (Tr.582:3-15).

         Defendants Finding No. 13.      Saliva and mucous (or mucus) are used
         interchangeably herein. Each is predominately water. (Tr. 131:19-132:13,
         701:13-15.)

         DFF13.       Denied. The terms saliva and mucous (or mucus) are not

   interchangeable.


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         Defendants Finding No. 14.       Tapolsky is a family of patents. (Tr. 112:25-
         113:8.) Tapolsky 2005 is the patent application publication that resulted in
         U.S. Patent 7,579,019, and is related to U.S. Patents 5,800,832 and
         6,159,498, which are incorporated by reference into the ’866 and ’843
         patents. (JTX-001 at 13:1-4; Tr. 113:9-18.) The pharmaceutical development
         report for BELBUCA states that BEMA technology “followed the invention
         of the mucoadhesive system described in Patent No. 6,159,498,” i.e.,
         Tapolsky. (DTX-024-00005; Tr. 113:19-114:16;117:3-21.)




         DFF14.       Denied. At trial, the only Tapolsky patent in evidence was

   Tapolsky-2005, DTX-173. See Resp. DFF1. The sentence cited by Defendants

   states that the BEMA technology “followed the invention” of the mucoadhesive

   system described in Patent No. 6,159,498. This means that the BEMA technology

   was developed after the ’498 patent.

         Defendants Finding No. 15.      Tapolsky discloses the BEMA devices
         incorporated by reference and claimed by the patents-in-suit for
         buprenorphine. (JTX-001 at 13:1-4; Tr. 112:24-114:15, 117:3-20.)

         DFF15.       Denied. See Resp DFF1; PFF1-14.


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         Defendants Finding No. 16.      Because Tapolsky discloses more than 200
         active agents, including butorphanol, which is a “prototypical agonist-
         antagonist opioid analgesic agent,” a POSA would have reasonably expected
         Tapolsky’s BEMA devices to deliver buprenorphine. (DTX-173 at [0046]-
         [0053]; DTX-362-0001 at abstract; Tr. 110:18-112:1, 112:16-23, 121:9-17,
         129:3-130:19, 261:4-262:3.)

         DFF16.        Denied. See Resp. DFF1-2, PFF1-14.

         Defendants Finding No. 17.       Tapolsky discloses a BEMA device for any
         active agent, such as opioids like butorphanol that would benefit from
         transmucosal delivery. (DTX-173 at [0002], [0013], [0046]-[0053], [0131];
         Tr. 106:10-107:3, 111:3-112:4, 112:16-23.)

         DFF17.        Denied. See Resp. DFF1-2, PFF1-14.

         Defendants Finding No. 18.    The ’866 and ’843 patents disclose
         butorphanol as an exemplary opioid amongst 57 other opioids, including
         buprenorphine. (JTX-001-0010 at 9:58; JTX-002-0012 at 10:9))

         DFF18.        Denied. The ’866 patent identifies butorphanol as an opioid

   and states that it is “suitable for use.” JTX-0001, col. 9:55, 57; see PFF2-6.

         Defendants Finding No. 19.       During prosecution, in a petition to the
         Commissioner of Patents to accelerate examination of the ’866 patent, BDSI
         stated, “Tapolsky is Applicant’s own patent” and, falsely, “does not teach
         administration of an opioid.” (JTX-004-0033.)

         DFF19.        Denied. During prosecution of the ’866 patent, Plaintiffs’

   attorneys identified “Taposkly et al. US Patent No. 6,159,498” as a prior art

   reference closely related to the pending claims. (JTX-004-0027.) In discussing

   that specific reference, Plaintiffs stated that “Tapolsky et al. does not teach

   administration of an opioid, including buprenorphine, or an opioid antagonist.”

   (JTX-004-0033.) This statement was completely accurate as the ’498 patent does


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   not mention opioids or butorphanol. Tapolsky-2005 (DTX-173), relied on here by

   Defendants, is a later application containing additional disclosure.

         Defendants Finding No. 20.      Tapolsky’s BEMA device is for
         administration to a mucosal (e.g., buccal) surface. (DTX-173 at [0002],
         [0024], [0027], Example 20, [0100], [0128]; Tr. 129:23-130:19, 109:22-
         110:17, 247:13-16, 247:25-248:16.) Tapolsky discloses a method for the
         direct transmucosal administration of drug, which provides effective drug
         delivery. (D.I. 114 at 4; DTX-173 at [0024]; JTX-001-0009 at 7:9-11; Tr.
         106:12-107:3.)

         DFF20.       Denied. See Resp. DFF1, PFF1-14.        A POSA would not

   believe that Tapolsky-2005’s experiments in dogs with testosterone and albuterol

   sulfate could predict how other chemical compounds would behave in humans in

   Tapolsky’s devices. See PFF12.

         Defendants Finding No. 21.      Tapolsky’s BEMA device is a layered film
         disk including a water-erodable adhesive layer including drug and a water-
         erodable backing layer. (DTX-173 at [0013], [0030]; Tr. 106:17-107:3.)

         DFF21.       Plaintiffs deny that Tapolsky describes a “BEMA device” as

   discussed in Resp. DFF1.

         Defendants Finding No. 22.      Tapolsky’s BEMA device contains an
         adhesive layer including a film-forming water erodible polymer, such as
         hydroxyethyl cellulose or hydroxypropyl cellulose, and a bioadhesive
         polymer, such as sodium carboxymethylcellulose. (DTX-173 at [0031]-
         [0032]; Tr. 107:4-6, 107:15-109:4; see D.I. 249 at 2.)

         DFF22.       Denied. Tapolsky-2005 states that the film “may” comprise

   such polymers. Plaintiffs deny that Tapolsky-2005 describes a “BEMA device”

   within the meaning of the patents-in-suit. See Resp. DFF1; DTX-173, ¶¶ 0031-32.


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         Defendants Finding No. 23.     Tapolsky’s polymers for the adhesive layer
         are the same polymers described in the patents-in-suit and utilized in
         BELBUCA. (JTX-233-023; DTX-173 at [0031]-[0032]; JTX-001-012 at
         13:62-63, 14:12; JTX-002-014 at 14:19-20, 14:36-37; Tr. 108:11-18.)

         DFF23.        Denied. Tapolsky-2005 (DTX-173) describes the polymers

   cited in this finding, but only amongst a long list of other polymers. See Resp.

   DFF22. Defendants have not shown in this finding, or in any other, that Tapolsky-

   2005 describes the specific combination of polymers in the amounts used in the

   adhesive layer that are described in the patents in suit or that are used in

   BELBUCA. See e.g. JTX-001, Example 1; DTX-019-0031.

         Defendants Finding No. 24.      Tapolsky’s BEMA device also contains a
         non-adhesive backing layer disposed adjacent to the adhesive layer to
         provide unidirectional delivery of the drug towards the mucosal surface and
         to minimize swallowing. (DTX-173 at [0020], [0021], [0030], [0058]-
         [0062], FIG. 1, FIG. 2; Tr. 109:12-21).

         DFF24.        Denied. See Resp. DFF1. Tapolsky-2005 describes using a

   third layer to obtain unidirectional release. DTX-0173, ¶ 58; Tr.109:12-21; Resp.

   DFF1; PFF14.

         Defendants Finding No. 25.        Tapolsky discloses a unidirectional diffusion
         gradient that saliva penetrates in order to move the drug across the
         polymeric diffusion environment upon application of the device to a
         mucosal surface. (DTX-173 at [0020], [0021], [0030], [0058]-[0062], FIG.
         1, FIG. 2; Tr. 106:20-107:3, 109:12-21, Tr. 109:12-110:17, 129:23-130:19,
         247:13-16, 247:25-248:16.)

         DFF25.        Denied. See Resp. DFF24. Defendants’ citations do not

   support this finding.


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         Defendants Finding No. 26.      Tapolsky discloses suitable polymers for the
         backing layer, including a water-erodible, film-forming polymer such as
         hydroxyethyl cellulose or hydroxypropyl cellulose. (DTX-173 at [0035]; Tr.
         109:5-11; see D.I. 249 at 2.)

         DFF26.       Denied. DTX-173 states that the “non adhesive backing layer

   may comprise a water-erodable, film-forming pharmaceutically acceptable

   polymer” and then describes many different polymers. Among the polymers

   described are hydroxyethyl cellulose and hydroxypropyl cellulose. DTX-173, ¶

   35.

         Defendants Finding No. 27.     Tapolsky’s polymers for the backing layer
         are the same polymers described in the patents-in-suit and utilized in
         BELBUCA. (JTX-233-0023; JTX-001-0013 at 15:36; JTX-002-0015 at
         15:62-63; Tr. 107:15-108:10, 109:7-11.)

         DFF27.       Denied. Tapolsky-2005 (DTX-173) describes the cited

   polymers, but only amongst a long list of other polymers. Defendants have not

   shown in this finding, or in any other, that Tapolsky-2005 describes the specific

   combination of polymers in the amounts used in the backing layer that are

   described in the patents in suit or that are used in BELBUCA. See e.g. JTX-001,

   Example 1; DTX-019-0031.

         Defendants Finding No. 28.          Tapolsky’s BEMA devices “yield fast onset
         of activity,” i.e., rapid and efficient delivery, as well as “excellent
         bioavailability, and sustained delivery,” i.e., enhanced uptake. (DTX-173-
         0015 at [0131]; see also DTX-173-0001 at abstract; Tr. 106:17-107:3.)




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         DFF28.       Denied. See Resp. DFF1. The quoted statements refer to

   experiments in dogs with testosterone and albuterol sulfate and are not generally

   applicable to all chemical compounds, including buprenorphine. PFF7.

         Defendants Finding No. 29.       Tapolsky’s BEMA devices provide drug
         delivery that achieves effective plasma concentration beyond four hours.
         (DTX-173 at Table 5; Tr. 346:2-14.)

         DFF29.       Denied. See Resp. DFF1. Tapolsky-2005 does not teach a

   POSA that its devices would provide effective plasma concentrations of

   buprenorphine, for at least 4 hours. Tapolsky-2005 does not discuss what an

   effective dose of albuterol sulfate is and does not even mention buprenorphine.

   Tr.262:13-15, 422:24-423:2; Tr.810:15-20; PFF10.

         Defendants Finding No. 30.     Like Tapolsky, Moro discloses BEMA
         technology incorporated by reference by the patents-in-suit. (JTX-001 at
         13:1-4; DTX-178 at [0001], [0010], [0035], [0046]; Tr. 117:22-118:11,
         121:2-121:6, 121:18-25.)

         DFF30.       Denied. Moro does not describe “BEMA” technology.

   Moreover, the patents-in-suit do not “incorporate by reference” BEMA technology.

   See Resp. DFF1, PFF29-36.

               PFF29. While buprenorphine is mentioned in Moro, it is mentioned

               as part of a laundry list of chemical compounds and categories of

               chemical compounds. DTX-178, ¶¶17-24.

               PFF30. Moro does not disclose the “rapid and efficient delivery” of

               an active ingredient, as that term is used in the ’866 patent. DTX-178.

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               PFF31. Moro describes devices that provide “a sustained level of

               drug [delivery] at a more controlled rate over a longer treatment

               time.” (DTX-178, ¶46.) The devices of Moro have a residence time

               of between 40 and 240 minutes. (DTX-178, ¶92.)

               PFF32. There is no example in Moro of using any pharmaceuticals or

               any active agent in the devices of Moro, much less buprenorphine,

               and thus there is no experimental data concerning how any such

               device would behave and certainly no evidence of enhance uptake.

               See Tr.262:22-24, 263:5-7.

               PFF33. There is no evidence in the record that Moro ever became a

               commercial product. Tr.264:7-9.

               PFF34. Moro teaches that a backing layer, not an adhesive layer, is

               bioerodible. The adhesive layer is referred to as water soluble. DTX-

               0178, ¶10; Tr.263:23-25.

               PFF35. The examiner considered Moro during prosecution of the

               ’843 and ’866 patents and held that Moro did not render the claims of

               either patent obvious. JTX-0001-0001, Item (56); JTX-0005-2784.

               PFF36. Moro does not disclose a polymeric diffusion environment

               buffered to a particular pH. Tr.654:23-25; D.I 249, at 4.

         Defendants Finding No. 31.    Moro discloses an extensive list of active
         agents. (DTX-178 at [0047]-[0065]; Tr. 120:8-16). Moro discloses a BEMA
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         device for any active agent that would benefit from transmucosal
         administration. (DTX-178 at [0035], [0047]-[0065]; Tr. 118:8-11.)

         DFF31.       Denied. Moro does not describe a BEMA device. See DFF1.

   Moreover, the cited testimony does not support the statement that Moro discloses

   “device for any active agent that would benefit from transmucosal administration.”

   See PFF12, 28, 29-36.

         Defendants Finding No. 32.      Moro discloses BEMA delivery of
         “analgesic narcotics,” including buprenorphine specifically. (DTX-178-
         0005-0008 at [0035], [0046], [0064]; Tr. 117:22-118:11, 118:12-22, 120:13-
         16.)

         DFF32.       Denied. Moro does not describe BEMA delivery. See DFF1,

   11, 30. Moro describes buprenorphine as being an “analgesic narcotic.” DTX-

   178, ¶64. Moro does not describe any experiments that deliver any active agent,

   much less buprenorphine. See PFF32.

         Defendants Finding No. 33.     The Moro device contains an adhesive layer
         including a film-forming polymer, such as hydroxyethyl cellulose or
         hydroxypropyl cellulose, and a bioadhesive polymer, such as sodium
         carboxymethylcellulose. (DTX-178-0006 at [0041]; Tr. 118:23-119:10; see
         D.I. 249 at 4.)

         DFF33.       Admitted.

         Defendants Finding No. 34.     The Moro device also contains a non-
         adhesive backing layer including a film-forming polymer such as
         hydroxyethyl cellulose or hydroxypropyl cellulose (see D.I. 249 at 4), which
         maximizes unidirectional delivery of drug toward the mucosal surface while
         minimizing swallowing of the drug. (DTX-178-0006 at [0043]; Tr. 119:11-
         120:7.)




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         DFF34.        Denied. Moro does not single out hydroxyethyl cellulose or

   hydroxypropyl cellulose as important polymers to use in the backing layer for

   unidirectional delivery.

         Defendants Finding No. 35.      Moro’s polymers for the mucoadhesive and
         backing layers are the same polymers described by the patents-in-suit and
         utilized in BELBUCA. (JTX-233-0023; DTX-178-0006 at [0041], [0043];
         JTX-001-0012-0013 at 13:62-63, 14:12, 15:36; JTX-002-0014-0015 at
         14:19-20, 14:36-37, 15:62-63; Tr. 108:11-18, 118:23-119:17.)

         DFF35.        Denied. Moro describes the cited polymers amongst a long list

   of other polymers. Defendants have not shown in any proposed finding that Moro

   describes the specific combination of polymers in the amounts used in the adhesive

   layer or backing layer that are described in the patents in suit or that are used in

   BELBUCA. (See e.g., JTX001, Example 1; DTX-019-0031.)

         Defendants Finding No. 36.     Buprenorphine hydrochloride2 is the salt
         form of buprenorphine that formulators use in pharmaceutical formulations.
         (See JTX-003-0012 at 9:61-62; JTX-248-0002.) n.2: The terms
         “buprenorphine” and “buprenorphine hydrochloride” are used
         interchangeably herein.

         DFF36.        Denied. This finding is vague as it does not define what

   formulators or formulations are referenced and at what time period. Defendants’

   cited evidence does not support this finding.

         Defendants Finding No. 37.        Buprenorphine is a BCS-II
         (“Biopharmaceutics Classification System - Class II”) drug, which means
         that the drug has low solubility in saliva but high permeability
         (lipophilicity). (Tr. 699:18-701:5.)



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         DFF37.       Denied. See PFF46-50. Defendants have not put forward any

   evidence in the record demonstrating that the BCS classification system was

   known as of 2006. Further, the cited testimony does not substantiate the assertion

   that buprenorphine “has low solubility in saliva.”

         Defendants Finding No. 38.      If the formulation buffers the saliva to a pH
         capable of ionizing and dissolving the buprenorphine, then the
         buprenorphine will readily permeate the mucosal membranes and absorb
         into the bloodstream. (Tr. 131:19-134:9, 699:18-701:5.)

         DFF38.       Denied. It is unclear what formulations or what devices at what

   time periods this finding refers to. Further, in the claimed inventions, the

   buprenorphine is already solubilized in the polymeric diffusion environment and is

   not in the form of solid particles that need to be dissolved by salvia. See PFF23-

   28. Further, the evidence does not show that buprenorphine “readily” permeated

   the mucosa if it was soluble. The bioavailability for sublingual liquid formulations

   with aqueous ethanol were only about 30% and for sublingual tablets was only

   about 25%. See PFF19, 21.

         Defendants Finding No. 39.       Johnson summarizes what POSAs knew
         about buprenorphine prior to the patents-in-suit. Specifically, that
         buprenorphine: (1) is a highly potent and effective analgesic for the
         treatment of pain with a long duration of action; (2) has a wider safety
         profile compared to other opioids, especially with regard to respiratory
         depression; (3) has low abuse potential and fewer symptoms of withdrawal;
         (4) experiences high first pass effect (and should be administered
         transmucosally, for example, to avoid liver metabolism); and (5) is
         extremely lipophilic (meaning that it will permeate mucosal membranes
         when dissolved and ionized). (DTX-165-0001-0003, 0005, 0007-0009,
         0020-0021; Tr. 96:4-98:22, 484:25-486:25.)

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         DFF39.       Denied. Buprenorphine was not shown to be effective for

   chronic pain in the United States as of 2006. See PFF15-16, 65-66. Further, for

   points (2) and (3), Johnson is merely theorizing by using the word “may.” (DTX

   165-0002.) Plaintiffs agree that buprenorphine was known to have a high first pass

   effect and lipophilic. (DTX-0165-0005.)

         Defendants Finding No. 40.      At trial, BDSI agreed that Johnson teaches
         that buprenorphine has limited abuse potential because of a ceiling effect at
         higher doses, and has a wider safety potential compared to full mu agonists.
         (DDX4-5; Tr. 143:23-24.)

         DFF40.       Admitted.

         Defendants Finding No. 41.         Bullingham I discloses the same properties
         of buprenorphine described in Johnson. (DTX-077-0001, 0005; Tr. 91:2-19,
         93:25-94:9.) Bullingham I teaches that buprenorphine was well suited for
         oral transmucosal administration because of its high lipophilicity, high
         potency, high first pass effect, long duration of action, and low abuse
         potential. (DTX-077-0001; Tr. 91:2-19, 92:19-25, 99:7-10; see D.I. 249 at
         3.) Bullingham I teaches that sublingual delivery of buprenorphine is
         effective because of these “specific features of buprenorphine.” (DTX-077-
         0005; Tr. 93:25-94:9; see also JTX-248-002.)

         DFF41.       Denied.     Bullingham-I does not show to a POSA that

   sublingual tablets were actually effective because the data was compromised due to

   the design of the study that intermixed intravenous and sublingually administered

   buprenorphine. Tr.812:12-814:17, 408:10-19; DTX-077-0002; PFF37-45.

         Defendants Finding No. 42.        Bullingham I reports that the sublingual
         (i.e., transmucosal) administration of buprenorphine provides a first
         quantifiable concentration (i.e., Tfirst) of buprenorphine between 40 and 60
         minutes once the background intravenous dose is excluded. (DTX-077-0003
         (Table 2); Tr. at 334:10-335:17.)

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         DFF42.      Denied. See PFF37-45.

               PFF37. Bullingham I purports to investigate the pharmacokinetics of

               buprenorphine following sublingual tablet administration but only

               after patients already received intravenous buprenorphine the same

               day. As such, the pharmacokinetic data from the study as relating to

               the sublingual tablet is compromised and unreliable. Tr.403:14-20,

               408:10-19, 812:12-816:25; DTX-077-0002-0003.

               PFF38. Dr. Taft testified: “If you look at the plasma levels of

               buprenorphine from the intravenous dose at the time the sublingual

               tablets were introduced, that’s the primary contributor to the plasma

               levels that were measured in the patient. That between 0 and 45

               minutes after the tablets were introduced, the intravenous [] dose is

               what’s driving the effect.” (Tr.818:2-9.)

               PFF39. The “stripping” technique used by Bullingham I introduced

               significant error and rendered the data unreliable. (Tr.813:11-814:4.)

               The “stripped” estimated plasma buprenorphine from the intravenous

               dose in Bullingham-I was calculated from an earlier study with a

               different group of patients. (Tr.812:12-814:4, 408:10-19.) For this

               reason, within the first hour where the intravenous contribution is

               most prevalent, a POSA would understand that pharmacokinetic data


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               for sublingual tablets are not reliable. (Tr.814:5-17.) Any analgesic

               effect occurring between 15 and 45 minutes would be contributed to

               residual plasma buprenorphine from the initial intravenous dose, not

               the sublingual buprenorphine tablets. Tr.814:5-17, 817:18-820:3,

               405:8-22, 406:22-408:9; DTX-0077-0003-4.

               PFF40. In Bullingham I, a POSA would not be able to tease out the

               duration of analgesia due solely to buprenorphine absorbed from the

               sublingual tablets. Tr.811:11-822:14.

               PFF41. Table 2 of Bullingham I shows the problem with the data. It

               reports a value of 0.10 ng/ml at 40 minutes, plus or minus 0.12, which

               is the standard error of the mean. (DTX-077-0003; Tr.815:23-816:1.)

               This suggests that “within one standard error the value is 0. It’s not

               detectable.” Id. And applying the standard deviation results in a

               negative value. (Tr.816:2-15.) A POSA would understand that this is

               not a quantifiable concentration. (Tr.816:16-25.)

               PFF42. Bullingham-II, another study by the same authors as

               Bullingham-I, also reports estimated plasma buprenorphine

               concentrations following administration of sublingual buprenorphine

               tablets, which are calculated using the same “stripping” method

               discussed above. Tr.823:11-825:1; DTX-177-0002-3.


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                     PFF42.1 As with Bullingham-I, the reported plasma

                     buprenorphine concentrations for the sublingual tablets in

                     Bullingham II are influenced by the preexisting intravenous

                     dose and are unreliable. Tr.812:4-814:17, 823:11-825:1;

                     408:10-19, 419:14-18; DTX 177-0002-3, 0005.

                      PFF42.2 Table 6 of Bullingham II shows that the first

                     measurable plasma concentration due to the sublingual tablets

                     occurred at 60 minutes, not 45 minutes. DTX-177-0007;

                     (Tr.823:11-824:6, 825:2-11, 410:4-8). Before this time, the

                     plasma concentration due to the sublingual tablets is zero. Id.

               PFF43. Bullingham I also does not show an effective plasma

               concentration for at least four hours because of the compromised data

               due to the effect of intravenous administered buprenorphine. See

               PFF37. Bullingham I does not even mention the plasma concentration

               of buprenorphine after 3 hours—180 minutes was the last

               measurement. (Tr.820:12-821:4.) As such, Bullingham I, could not

               possibly report an effective plasma concentration from the sublingual

               tablets for at least 4 hours. Id.

               PFF44. A POSA would not view Bullingham I as showing that

               patients experienced analgesia for more than four hours, or “534


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                minutes,” due to the design of the study, which intermixed

                intravenous buprenorphine data and also allowed a “pump” that

                delivered yet another drug to the patient, diamorphine. Tr.821:5-

                822:14, 409:18-22; DTX-077-0002.

                PFF45. Bullingham II provides a plasma concentration that the

                authors consider minimally effective: “plasma drug concentrations as

                low as 0.4 to 0.6 ng/ml are associated with appreciable analgesic

                effect.” DTX-177-0005; Tr.825:15-23. For the .4 mg sublingual

                tablet (the same dose in Bullingham-I), Table 6 shows a plasma

                concentration reaching .4 ng/ml at 180 minutes, and then falls below

                this concentration at 240 minutes. Tr.826:20-827:15. Thus,

                Bullingham-II reports an effective plasma concentration for at most

                90 minutes not at least four hours. Tr.416:18-23.

         Defendants Finding No. 43.       At trial, BDSI agreed that Bullingham I
         teaches that buprenorphine is highly potent, has a long duration of action
         with low abuse potential, and is highly lipophilic. (DDX4-5; Tr. 142:24-
         143:11; see also D.I. 249 at 3.)

         DFF43.       Denied. BDSI explained that buprenorphine is highly lipophilic

   when it is not in an ionized state. (Tr.142:20-23.)

         Defendants Finding No. 44.       Bullingham I discloses that the onset of pain
         relief from the sublingual dose of buprenorphine “occurred between 15 and
         45 minutes.” (DTX-077-0003; Tr. 338:25-339:20).

         DFF44.       Denied. See PFF37-45.

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         Defendants Finding No. 45.      Bullingham I also discloses that the
         sublingual administration of buprenorphine maintains an average duration of
         analgesia for 534 minutes. (DTX-077-0003.) Bullingham I teaches
         maintaining effective buprenorphine concentrations for more than four
         hours. (DTX-077-0003; Tr. 344:16-345:7.)

         DFF45.        Denied. See PFF37-45.

         Defendants Finding No. 46.      Saliva is not ideal for dissolving
         buprenorphine due to its near-neutral pH. (JTX-249-0004; Tr. 133:15-21,
         147:7-23.)

         DFF46.        Denied. The cited evidence does not support this finding. In

   addition, it is not relevant to the operation of the claimed invention. See PFF23-

   28; Tr.611:1-612:22.

         Defendants Finding No. 47.        pH is the measure of how acidic or basic a
         liquid is relative to neutral water. (Tr. 146:11-147:4.) pH is logarithmic, such
         that each unit is an order of magnitude greater or lesser than its adjacent
         units. (Tr. 146:20-147:4.) For example, a pH of 4 is 10X more acidic than a
         pH of 5 and 100X more acidic than a pH of 6. (See Tr. 146:13-147:6.)

         DFF47.        Denied. The cited testimony does not substantiate the assertion

   that “pH is the measure of how acidic or basic a liquid is relative to neutral water.”

   Plaintiffs admit that the pH scale is logarithmic.

         Defendants Finding No. 48.      POSAs understood buprenorphine to be
         poorly soluble in water. (Tr. JTX-248-0004, 0007-0008, Tr. 131:19-133:21,
         153:9-24.)

         DFF48.        Denied. Solubility of buprenorphine depends on many factors,

   including the solvent system and the pH. This finding cites Cassidy (JTX-248-

   0004), but Cassidy used buffered solutions, not water.



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         Defendants Finding No. 49.      POSAs also understood that buprenorphine
         solubility is highly pH-dependent, having the highest solubility at low (i.e.,
         strongly acidic) pH values. (JTX-248-0004; Tr. 147:7-23; 166:12-23.)

         DFF49.       Denied. The solubility of buprenorphine depends on the

   particular system. For example, the polymeric diffusion environment of the

   claimed invention has different solubility properties than Cassidy. (Tr.756:20-

   757:1, 762:13-763:9; (Compare DTX-024-0024 (Fig. 3) with JTX 248 0012 (Fig

   1); Tr.622:13-624:3, 624:17-23; DTX 071-0021 (Fig. 7); DTX 370-0020 (Fig. 7));

   (JTX 0005-2771).

         Defendants Finding No. 50.       “Solubility” is the maximum concentration
         of drug than can dissolve in a solvent (e.g., water). (Tr. 139:1-2.)

         DFF50.       Admitted.

         Defendants Finding No. 51.       “Dissolution” is the rate the drug dissolves
         in the solvent. (Tr. 139:3-4.)

         DFF51.       Admitted.

         Defendants Finding No. 52.   At acidic pH values below 6, buprenorphine
         is ~100% ionized. (JTX-248-0004; Tr. 133:2-133:6, 133:15-21; 166:12-23,
         175:3-6, 671:16-672:7.)

         DFF52.       Denied. Plaintiffs deny that this information had been

   calculated or was published as of 2006. (See Resp. DFF-65.) Further, that Dr.

   Davies testified that the nonionized form of buprenorphine only appears in a

   significant amount between about pH 6 and 12, does not mean that there is no

   nonionized form of buprenorphine below pH 6. (Tr.730:10-18.)



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         Defendants Finding No. 53.        “Ionization” is the process by which the
         neutral drug salt converts to electrically charged “ions” in solution. (Tr.
         139:5-6.) Like solubility, ionization of buprenorphine is highly pH-
         dependent. (Tr. 146:8-12.)

         DFF53.       Denied. The percentage of buprenorphine molecules that exist

   in each protonation state changes depending on the pH. (DTX-377-0004;

   Tr.728:9-729:5.)

         Defendants Finding No. 54.      The entire prior art of record demonstrates
         that formulators provided buprenorphine in acidic pH environments where it
         is ~100% ionized. (JTX-249-0006; DTX-377-002-0004; Tr. 168:24-170:22,
         162:14-164:9, 170:6-9; DTX-172-0004; Tr. 167:18-168:23; DTX-203 at
         [0010], [0071], [0083]; Tr. 171:3-172:22; DTX-174-0003-0004 at 2:11-3:4;
         Examples 1-18; Tr. 174:13-175:6, 671:16-673:25.)

         DFF54.       Denied. There is no evidence in the record that anyone had

   actually calculated or published the ionization states of buprenorphine as of 2006.

   See Resp. DFF65; PFF46-50.

                PFF46. The prior art as a whole taught that for a weakly basic drug,

                bioavailability and absorption would increase as the pH increases, and

                the drug becomes more unionized. JTX 249-0006, 0007; JTX-250,

                col.4:49-58; JTX-246-0001; JTX-462, ¶53; JTX-243, col.4:58-62;

                (Tr.251:2-9, 629:22-630:6, 644:19-647:25, 706:20-707:3, 797:1-

                800:7). This is consistent with the partition theory. (Tr.730:19-

                731:21, 795:1-16, 796:13-25.)




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               PFF47. A POSA would have expected that at higher pHs,

               buprenorphine primarily nonionized, which would lead to a higher

               partition coefficient and lipophilicity. (Tr.795:17-796:12.)

               PFF48. Weinberg teaches that for weakly basic drugs, including

               buprenorphine, absorption and bioavailability increases as the pH

               increases and the drug becomes less ionized. JTX 249-0006, 0007;

               (Tr.629:22-630:6, 645:20-646:6, 706:20-707:3, 797:4-21). This was

               confirmed by Dr. Michniak-Kohn’s book. (DTX-355-0011.)

               PFF49. Todd confirms this trend, stating that uptake of

               buprenorphine increased as the pH increased. DTX-174-0003.

               PFF50. The entire prior art of record teaches away from using lower

               pH values to obtain enhanced bioavailability. See PFF46-48. For

               example, liquid formulations like Todd (containing ethanol) with a pH

               between 4.5-5.5 had a bioavailability of approximately 30%. PFF19.

               But the sublingual solution in Weinberg with a pH of 6.5 had a

               bioavailability of approximately 55%. JTX-249-0006. Further, a

               POSA would have been reluctant to put buprenorphine at a low pH,

               such as from pH 4 to 6, because of the risk of buprenorphine

               undergoing decomposition reactions. (Tr.745:20-747:19.)




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           Defendants Finding No. 55.     None of the prior art relied on by Dr.
           Williams teaches that buprenorphine is subject to a “general rule” that
           unionized drugs permeate the mucosa better. (Tr. 664:11-670:20.)

           DFF55.       Denied. See Resp. DFF54, PFF46-50.

           Defendants Finding No. 56.      The trial record does not include any
           reference where a formulator attempted to provide buprenorphine in a
           neutral or basic environment, or where the buprenorphine was less than
           ~100% ionized. (Tr. 176:1-176:9, 201:14-202:17.)

           DFF56.       Denied. Weinberg shows that weakly basic drugs such as

   buprenorphine are absorbed better as the pH increases and the drug becomes less

   ionized. JTX 249-0006, 0007; (Tr.629:22-630:6; 645:20-646:6, 706:20-707:3,

   797:1-21). Dr. Davies testified that the pH of 6.5 used in Weinberg is between 6

   and 12 and is in the range Dr. Davies identified as having non-ionized

   buprenorphine present in significant amounts. (Tr.730:13-15, 734:9-13, 741:17-

   21.) Further, the inventors formulated buprenorphine films at pH 7.25, which was

   completely soluble. (Tr.648:15-650:4, 754:21-756:2, 759:19-760:11); JTX-365-

   0004.

           Defendants Finding No. 57.    Cassidy teaches that the solubility of
           buprenorphine is highly pH dependent, with the highest solubility seen at
           low (acidic) pH. (JTX-248-0004; Tr. 147:7-23.)

           DFF57.       Denied. The teachings of Cassidy are limited to the particular

   buffered liquid systems investigated therein. (JTX-248-0004.) Every system is

   different, and the polymeric diffusion environment of the claimed invention has

   different solubility properties than Cassidy. DFF49; JTX-248-0004.

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               PFF51. The solubility of buprenorphine in the polymers of the

               mucoadhesive layer is different than that reported for simple buffer

               solutions in Cassidy, and has dramatically increased solubility of

               buprenorphine at the pH ranges thought to be most useful to obtain

               enhanced bioavailability, which are on the right side of the below

               chart. (Tr.624:17-23, 706:5-19.)




               (Compare DTX-24 at p. 12 (Fig. 3) with JTX 248-0012 (Fig 1);

               Tr.622:13-624:23; DTX 071-0021 (Fig. 7); DTX 370-0020 (Fig. 7).)

               PFF52. As stated by Dr. Vasisht, the “polymeric diffusion

               environment of [the] present claims is a three-dimensional dynamic

               system where the buprenorphine is solubilized in the system, wherein

               the solubility is not the solubility in an aqueous environment . . .

               Accordingly, information about solubility in an aqueous system does

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                not translate to a polymeric diffusion environment.” (JTX 0005-

                2771.)

         Defendants Finding No. 58.         Cassidy teaches that buprenorphine
         solubility at “neutral pH,” i.e., pH 7.3, is “considerably lower.” (JTX-248-
         0004; Tr. 147:7-23.

         DFF58.       Denied. See DFF 57; PFF 51-52.

         Defendants Finding No. 59.        Figure 1 of Cassidy illustrates
         buprenorphine solubility, i.e., the amount of buprenorphine (mg/mL) that
         can be dissolved in each of three different buffers, i.e., phosphate, USP
         phosphate, and physiological (TPS), versus pH (from 4 to 8) on a
         logarithmic scale. (JTX-248-0004 at Figure 1; Tr. 138:14-139:2, 147:24-
         148:14.)

         DFF59.       Denied. Cassidy shows the solubility of buprenorphine in three

   different liquid buffer systems (phosphate, USP phosphate and physiological (TPS

   buffers)). Plaintiffs deny that such solubility applies to other systems. See Resp.

   DFF-57; PFF51-52.

         Defendants Finding No. 60.      Cassidy reports that similar buprenorphine
         solubilities were measured in each buffer system, except at pH 4.2, where
         buprenorphine solubility in TPS buffer was “considerably lower” than in the
         other two buffers because of the reduced buffering capacity of TPS at this
         low pH. (JTX-248-0004; Tr. 148:15- 150:9). The point at pH 4.2 in TPS
         buffer is an outlier. (JTX-248-0004; Tr. 148:15-150:9.)

         DFF60.       Denied. The data point for TPS buffer at 4.2 is as valid as any

   other data points and is not characterized as an “outlier.” JTX-248-0004.

         Defendants Finding No. 61.     Setting aside the point at pH 4.2 for TPS
         buffer, which Cassidy characterizes as an outlier, Dr. Michniak-Kohn
         annotated Figure 1 as follows:


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         (DDX 4-13; JTX-248-0004 at Figure 1; Tr. 148:15-150:9, 150:19-151:5.)

         DFF61.      Denied. Cassidy states that data point for TPS buffer at 4.2 is

   different. It does not characterize it as an outlier. JTX-248-0004; DFF57, PFF51-

   52.

         Defendants Finding No. 62.     Points that fall below the line represent
         soluble buprenorphine, while points that fall above the line represent
         insoluble buprenorphine. (JTX-248-0004 at Figure 1; Tr. 150:19-151:5.)

         DFF62.      Denied. The data in Cassidy only applies to the liquid buffer

   systems examined. See Resp. DFF57; PFF51-52.

         Defendants Finding No. 63.      Figure 1 of Cassidy illustrates that the
         highest solubility of buprenorphine is obtained below a pH of about 5. (JTX-
         248-0004 at Figure 1; Tr. 150:12-18.)

         DFF63.      Denied. See Resp. DFF57; PFF51-52.

         Defendants Finding No. 64.      Figure 1 of Cassidy (as annotated by Dr.
         Michniak-Kohn) illustrates that buprenorphine is “very soluble” at pH
         values below 5, and is “sparingly soluble” to insoluble at pH values above

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         7.5.




         (DDX 4-17; Tr. 151:25-153:2.)

         DFF64.       Denied. See Resp. DFF-57; PFF-51-52.

         Defendants Finding No. 65.     Based on the calculations performed by Dr.
         Stephen Davies (BDSI’s chemistry expert), a POSA would have understood
         that buprenorphine is 100% ionized at pH values below 5 where it is “very
         soluble.” (DTX-377-0002, 004; Tr. 162:14-164:19; 165:21-166:11.) (DDX
         4-20.)

         DFF65.       Denied. There is no evidence that the ionization states for

   buprenorphine were actually calculated or published in the prior art as of 2006,

   using the Henderson-Hasselbalch equation. (Tr.163:21-164:2.)      Plaintiffs further

   deny that the solubility of Cassidy applies to all systems. See Resp. DFF-57; PFF-

   51-52.

                PFF53. If a POSA were to calculate the ionization states in the prior

                art, a POSA would have understood that the unionized form of


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               buprenorphine is between 6 and 12 and that the unionized form is

               desired to increase absorption and bioavailability. (Tr.730:4-731:10;

               795:1-800:7.)

               PFF54. A POSA, in possession of the ionization states of

               buprenorphine in 2006, would have been motivated to use pH’s higher

               than 6 to obtain enhanced uptake and increased bioavailability.

               (Tr.730:13-15, 734:2-13, 741:12-20, 799:21-800:7.)

         Defendants Finding No. 66.      A POSA would have been able to generate
         Dr. Davies’ ionization data by using the well-known Henderson-Hasselbalch
         equation that relates pH, pKa, and the log ratio of ionized and unionized
         portions of a molecule. (Tr. 162:14-164:4.)

         DFF66.       Admitted that a POSA could have generated such data, denied

   that it was done and published in the prior art. See DFF-65.

         Defendants Finding No. 67.      Cassidy further illustrates to a POSA that
         buprenorphine solubility increases exponentially as pH decreases from 5 to
         4, which anticipates the pH ranges claimed in the patents. (JTX-248-0004,
         Figure 1; JTX-248-007-0008; Tr. 152:14-153:2, 153:9-20.)




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         (DDX 4-15.)

         DFF67.       Denied. See Resp. DFF57; PFF51-52.

         Defendants Finding No. 68.          As shown by the illustration, at a pH of
         about 5, about 1 mg/mL buprenorphine is soluble, but at a pH of about one
         unit less, i.e., at a pH of just above 4, about 10 mg/mL buprenorphine is
         soluble. (JTX-248-0004, Figure 1, JTX-248-0007-0008; Tr. 151:17-24.)
         Because the pH scale is logarithmic, a 10-fold increase in solubility per one
         unit drop of pH represents an exponential increase in solubility. (JTX-248-
         004, Figure 1, JTX-248-0007-0008; Tr. 151:17-24.)

         DFF68.       Denied. See Resp. DFF57; PFF51-52.

         Defendants Finding No. 69.     At acidic pH values, a one unit change in pH
         changes buprenorphine solubility by a factor of 10. (JTX-248-0004, Tr.
         151:17-24.)

         DFF69.       Denied. See Resp. DFF-57; PFF-51-52.

         Defendants Finding No. 70.        A BDSI development report for BELBUCA
         cites Cassidy directly, and states “[a]s per the literature, the solubility of
         buprenorphine at approximately pH 7.8 is 100x less that the solubility of
         buprenorphine at a pH of approximately 5.” (DTX-370-0018.) The
         development report reproduced Cassidy Figure 1, but does not include data

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         relating to the outlier point at pH 4.2 for TPS buffer. (JTX-248-0004; Tr.
         148:15-150:9, 680:17-681:23.) The development report states that the final
         BELBUCA product formulations (F14 and F24) were “formulated in the pH
         of highest [aqueous] solubility” as well as at concentrations lower than the
         solubility limit of the polymer system. (DTX-0370-0018-0019; JTX-248-
         0004; see Tr. 680:17-681:23.) (DTX-370-0019.) Dr. Williams confirmed
         that this reference to the highest aqueous solubility refers to Cassidy data.
         (Tr. 679:23-680:7.)

         DFF70.       Denied. Cassidy did not characterize the data point at pH 4.2 as

   an outlier. See JTX-248-0004. Cassidy was cited in the development report as a

   basis for comparison (DTX-370-0019), but the sentence cited by Defendants

   concerning BELBUCA pertains to the solubility of the novel polymeric diffusion

   environment of the mucoadhesive layer created by the inventors: “F14 and F24

   [BELBUCA formulations] mucoadhesive blend formulations were formulated in

   the pH of highest solubility and at concentrations lower than the solubility limit as

   shown in Figure 7.” (DTX 370-0019 (emphasis added).) Figure 7, show below,

   is the solubility data for the mucoadhesive solution—not Cassidy. DTX 370-0020;

   JTX-248-0004. This was made clear during Dr. Williams testimony on re-direct.

   Tr.704:7-705:13.




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         Defendants Finding No. 71.     BDSI recognized the importance of the
         aqueous solubility of buprenorphine, as described by Cassidy, in formulating
         BELBUCA. (DTX-370-0019; JTX-248-004; Tr. 680:12-682:8.)

         DFF71.      Denied. See DFF70.

         Defendants Finding No. 72.        During manufacture, buprenorphine and the
         polymers dissolve in water, which is later removed during the drying
         process. (Tr. 674:19-675:7.) A POSA would know that in the final product,
         buprenorphine exists as a solid and must dissolve and ionize in the saliva in
         order to leave the dosage form and permeate the membrane. (Tr. 132:14-
         134:2, 701:6-702:23) The solubility of buprenorphine in the polymer casting
         solution is not relevant to the requirement that buprenorphine be soluble in
         saliva. (Tr. 201:14-19, 202:18-25, 701:6-702:5.)

         DFF72.      Denied. This finding misstates how the claimed invention

   works. See PFF23-28.



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         Defendants Finding No. 73.        Weinberg teaches that buprenorphine has
         the highest partition coefficient (and is the most lipophilic) as compared to
         eight other known opioids. (JTX-249-0002, Table 1; Tr. 137:20-138:13.)

         DFF73.        Denied. Table 1 in Weinberg shows that buprenorphine has the

   highest partition coefficient. (JTX-249-0002.) Plaintiffs deny Dr. Michniak-Kohn

   characterization of this table and the data.

         Defendants Finding No. 74.         Because of its partition coefficient, which
         reflects its tendency to go into lipid environments of cell membranes, a
         POSA would have expected buprenorphine, in its fully ionized form, to
         permeate the lipid environment of the mucosal membrane. (Tr. 135:11-
         136:12, 136:18-24.)

         DFF74.        Denied. See PFF 46-50.

         Defendants Finding No. 75.       Weinberg reports that buprenorphine, at pH
         6.5, where a POSA would have known buprenorphine to be nearly 100%
         ionized, absorbs well across the oral mucosa. (JTX-249-0006; Tr. 168:24-
         171:2.)

         DFF75.        Denied. See Resp. DFF65; PFF46-50. Further, Dr. Davies

   specifically testified that the nonionized form appears in significant amounts

   between pH values of about 6 and 12. (Tr.730:13-15, 734:9-13, 741:17-21).

         Defendants Finding No. 76.     Weinberg teaches that the poor solubility of
         buprenorphine at pH 6.5 prohibits the formulation of buprenorphine at
         higher, basic pH values. (JTX-249-0006; Tr. 170:10-22.)

         DFF76.        Denied. Weinberg merely states that it was having difficulty

   solubilizing buprenorphine in their liquid formulations at pH values higher than

   6.5. JTX-249-0006; PFF55.




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               PFF55. The inventors were able to solubilize buprenorphine in their

               inventive formulation with a pH of 7.25, and obtain results better than

               Suboxone®. (Tr.762:21-763:9, 754:2-5, 755:7-10); JTX-001, Fig. 3;

               JTX-365-0004.

         Defendants Finding No. 77.        Todd states, “[b]uprenorphine is a potent
         antagonist analgesic with good bioavailability following sublingual
         administration, useful in the relief of moderate to severe pain and also in the
         treatment of narcotic addiction.” (DTX-174-0001 at abstract; Tr. 173:18-
         174:6.)

         DFF77.       Admitted that this quote is in Todd. Plaintiffs deny that the

   Todd formulation actually had “good bioavailability.” See PFF-45 below.

               PFF56. While Todd’s formulations might have good bioavailability

               when compared to oral, which is approximately 10%, a POSA as of

               2006, would know that Todd’s liquid formulations containing aqueous

               ethanol, had a bioavailability of about only 30%. PFF19.

         Defendants Finding No. 78.       Todd recognizes that “[b]uprenorphine
         effectively relieves moderate to severe pain in doses of 0.15 mg or more
         administered either parenterally or sublingually,” and discloses that the
         “optimum therapeutic range” for buprenorphine sublingual tablets is 0.2 to
         0.4 mg. (DTX-174-0002 at 1:9-14.)

         DFF78.       Denied. While Todd does say that the “optimum therapeutic

   range for single doses is 0.3-0.6mg by injection and 0.2 - 0.4mg for sublingual

   tablets,” Todd describes only experimentation with a liquid formulation and

   describes no experimentation with sublingual tablets and reports no data for such


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   tablets. (DTX 174-0001.) Bullingham-II describes experiments with sublingual

   tablets. (PFF45.)

         Defendants Finding No. 79.     Todd teaches aqueous solutions of
         buprenorphine for sublingual administration. (DTX-174-0001 at abstract.)

         DFF79.        Admitted.

         Defendants Finding No. 80.       Todd states, “We have now developed stable
         liquid compositions containing buprenorphine at a high concentration
         suitable for sublingual administration. According to the present invention
         there is provided a pharmaceutical composition for sublingual administration
         comprising buprenorphine or a non-toxic salt thereof dissolved in 20-30%
         v/v aqueous ethanol buffered to between pH 4.5 to 5.5 with 0.05 to 0.2
         molar concentration of a buffering agent.” (D.I. 249 at 2; see also DTX-174-
         0003-0004 at 2:21-3:4, Example 17.)

         DFF80.        Admitted.

         Defendants Finding No. 81.      Todd teaches a finite number of acidic pH
         values for its sublingual buprenorphine solutions, i.e., pH 4, 5, and 6, each of
         which provide “uptake,” i.e., absorption, of buprenorphine that a POSA
         would have known was ~100% ionized. (DTX-174-0003 at 2:11-17; Tr.
         174:12-175:25.)

         DFF81.        Denied. See PFF57-63, below. Todd does not discuss the

   ionization states of buprenorphine. See Resp. DFF65.

               PFF57. The liquid formulation of Todd is a different than the solid

               polymeric devices of the claimed invention and also Moro and

               Tapolsky. (Tr.652:8-654:14.)

               PFF58. The pH range used in Todd was not for enhanced uptake but

               to address a different problem, solubility/stability. (Tr.653:22-654:2.)


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               PFF59. As Todd sought to make a liquid formulation that was

               designed to stay under the tongue for a period of time, it was essential

               that the buprenorphine stay in solution. (Tr.652:21-654:2.)

               PFF60. Todd explained that it had difficulties keeping the

               buprenorphine stable and in solution. “We have found it very difficult

               to prepare stable aqueous solutions of adequate concentration for

               sublingual administration.” (Tr.652:24-653:9; 265:21-266:2); DTX-

               174-0003.

               PFF61. It is for these solubility/stability reasons that Todd lowered

               the pH of its formulation (from 4.5 to 5.5) to increase the solubility of

               buprenorphine, and also used 20-30% aqueous ethanol as a co-solvent

               to dissolve buprenorphine and keep it in solution, “[b]oth are

               required.” (Tr.653:10-21; 265:15-24.)

               PFF62. Todd states that it obtained higher uptake, using higher pH

               values of 5 and 6. (Tr.671:16-672:2, 733:12-734:13, 798:23-799:20);

               DTX 174-0003.

               PFF63. Based on the above, a POSA reading Todd would not believe

               that lower pH ranges would enhance the uptake of buprenorphine.

               Rather, Todd is perfectly consistent with all the prior art discussed




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                above, which taught that increasing the pH of a weakly basic

                compound would increase absorption and bioavailability. PFF46-50.

         Defendants Finding No. 82.        Todd also includes 18 examples of
         buprenorphine formulations buffered to a pH between 4.5 and 5.5, including
         at a pH of 4.5, at a pH of 5, and at a pH of 5.5, where a POSA would have
         known buprenorphine to be 100% ionized. (DTX-174-0005-0007 at 4:5-
         6:19; Tr. 175:16-25, 671:16-672:7.)

         DFF82.       Denied. Todd does not discuss buprenorphine ionization states.

   See Resp. DFF65; PFF53-54, 57-63.

         Defendants Finding No. 83.   Citric acid/sodium citrate buffers, the same
         buffers used in BELBUCA, are disclosed by Todd and used in one of its
         examples. (DTX-174-0003-0004 at 2:21-3:4, DTX-174-0005 at Example 1,
         DTX-174-0007 at Example 17; Tr. 173:18-174:2.)

         DFF83.       Denied. The buffers in BELBUCA are “[m]onobasic sodium

   phosphate, sodium hydroxide, and citric acid.” (DTX-019-0025.) The buffers

   used in example 1 of Todd are: “citric acid/disodium hydrogen phosphate buffer.”

   (DTX-174-0005.)

         Defendants Finding No. 84.       Dr. Williams criticized Todd because the
         aqueous solutions utilize water and ethanol as co-solvents. (DTX-174-0003-
         0004 at 2:21-3:4; Tr. 173:18-174:2, 652:21-653:21.)

         DFF84.       Denied. Dr. Williams did not criticize anything. Dr. Williams

   correctly testified that Todd used aqueous ethanol as a solvent to solubilize the

   buprenorphine due to stability/solubility concerns. (Tr.652:8-653:21.)

         Defendants Finding No. 85.     However, Tapolsky teaches that its device
         preferably includes a combination of water and ethanol as solvents. (DTX-
         173-0009 at [0063].)

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         DFF85.        Denied. Tapolsky-2005 stated: “[i]n one embodiment, the

   components are dissolved in a biocompatible solvent, preferably an aqueous

   medium.” DTX-173, ¶63. Ethanol is not identified as a preferable solvent but

   only one that “may” used.

         Defendants Finding No. 86.       The ’866 and ’843 patents also describe
         water as the solvent, and do not preclude the use of ethanol as a co-solvent.
         (JTX-001-0015 at Example 1, 19:21-22, 40-42, 018 at Example 3, 25:45-
         53.) Furthermore, the patents prefer ethanol as a disintegration aid that can
         be included in the claimed buprenorphine devices to “increase the
         disintegration rate and shorten the residence time of the device ….” (JTX-
         001-0012 at 17:7-15; Tr. 672:8-674:1.)

         DFF86.        Denied. The ’866 and ’843 patents do not describe the use of

   ethanol as a solvent, as it is not required to solubilize the buprenorphine in the

   claimed polymeric diffusion environment. PFF51-52. Neither of the patents

   “prefer” ethanol as a disintegration aide, but say it could be used “optionally,” and

   a “disintegration aid” to break up the device and help it bio-erode to reduce

   residence time. (JTX-001, col.17:7-9.) This has nothing to do with solubilizing

   buprenorphine.

         Defendants Finding No. 87.     In 2002, FDA approved Suboxone®
         sublingual tablets. (JTX-471-0003; Tr. 480:12-82:2.)

         DFF87.        Admitted.

         Defendants Finding No. 88.    As noted in the label, Suboxone® includes
         buprenorphine hydrochloride and pH buffers (citric acid/sodium citrate).
         (DTX-172-0002; Tr. 153:25-154:10, 160:17-25, 694:3-23.)



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          DFF88.         Denied. DTX-172-0002 is “a part of the NDA for

   Suboxone®” that Defendants alleged was the label for Suboxone®. (Tr.100:3-11.)

   There is nothing that establishes that this portion of the NDA was publicly

   available to a POSA as of 2006. The document states that Suboxone® contains

   “citric acid and sodium citrate,” but it does not say that they are used as buffers.

   Dr. Williams stated there are other uses for citric acid/sodium citrate other than

   buffers, and he did not say that Suboxone® was buffered, even knowing it

   possessed these two chemicals. (Tr.694:18-20, 699:9-14, 160:17-25.)

          Defendants Finding No. 89.  Citric acid/sodium citrate are the same
          buffers used in BELBUCA. (JTX-233-0023, Tr. 174:7-11, 694:21-23.)

          DFF89.         Denied. The buffers in BELBUCA are “[m]onobasic sodium

   phosphate, sodium hydroxide, and citric acid.” DTX-019-0025; See Resp. DFF88.

          Defendants Finding No. 90.      A POSA would have understood the pH
          buffers in Suboxone® would reduce the pH of saliva to allow it to dissolve
          and ionize the buprenorphine. (Tr. 131:19-134:9, 160:17-25.)

          DFF90.         Denied. The cited pages are not referring to the working

   mechanism of Suboxone®.

          Defendants Finding No. 91.     BDSI submitted the Declaration of Dr.
          Maureen Reitman to the PTO in the context of an Inter Partes Review,
          where BDSI sought to establish the pH of Suboxone® in order to invalidate
          a competitor's patent. (DTX-365-0001, 0003.)

          DFF91.         Denied. DTX-365 does not support this finding. This finding

   is also irrelevant.


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         Defendants Finding No. 92.    Following a simple, well-accepted
         procedure, Dr. Reitman determined that Suboxone® provides a pH of 3.5 in
         solution. (DTX-365-0003 at ¶¶ 4-5; Tr. 164:4-162:3; see also Tr. 695:19-
         696:2.)

         DFF92.       Denied. There was no “well-accepted procedure” as of 2006, or

   even today, to dissolve a Suboxone® tablet in water and measure its pH, and the

   amount of water used would affect the test. (Tr.703:9-704:6.)

         Defendants Finding No. 93.      To determine the pH, Dr. Reitman placed
         the tablet and a pH meter into deionized water and measured the pH of what
         was produced. (Tr. 161:15-23.)

         DFF93.       Denied. DTX-365 does not merely say use ionized water but

   provides specific amounts of 1.5ml and 3.0 ml. The unrebutted evidence at trial

   shows that this amount of water was not “standard” in 2006. See Resp. DFF92.

         Defendants Finding No. 94.        BDSI admitted to the PTO that the pH of
         Suboxone® was inherent to the tablets and known to be 3.5. See Petition,
         BioDelivery Sciences Int’l, Inc. v. RB Pharms. Ltd., IPR2014-00325, Paper
         8 (PTAB filed Jan. 15, 2014), at pp. 6, 10.3 According to BDSI, the pH “can
         be readily obtained in a matter of minutes by anyone with deionized water
         and a pH meter.” (Id. at p. 42; see also Tr. 695:19-696:3.) n.3: This
         document is the publicly-available petition that BDSI submitted to the Patent
         Office, which attached the Reitman Declaration in support of a request for
         inter partes review of U.S. Patent No. 8,475,832. The document itself is not
         in evidence, but should be considered with the Reitman Declaration.

         DFF94.       Denied. Defendants have admitted that this unverified

   document was not entered into evidence. DFF94 should thus be stricken from

   Defendants’ findings and post-trial brief.

         Defendants Finding No. 95.    The trial record demonstrates that a POSA
         would have understood that Suboxone®, at a pH of 3.5, provides

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         transmucosal absorption of 100% ionized buprenorphine. (DTX-365-0003 at
         ¶ 5; DTX-172-0004; Tr. 154:11-16, 160:17-162:3, 167:18-168:23.)

         DFF95.       Denied. See Resp. DFF65; PFF40-41.

                PFF64. A POSA in 2006 would know that Suboxone® had a

                bioavailability of about 25%. PFF21.

                PFF65. There was no consensus, even as late as 2014, as to whether

                Suboxone was effective in treating chronic pain. (Tr.528:18-531:19,

                538:20-539:3); JTX-229-0001, 0006.

                PFF66. There are no published studies showing that Suboxone works

                for the treatment of chronic pain. Id.

                PFF67. Suboxone was not approved for the treatment of chronic

                pain, and even today, is not so approved. (Tr.521:25-522:13.)

                PFF68. Suboxone is approved for opioid dependence. Id.

                PFF69. The highest dose of Suboxone® is some four times higher

                than the highest dose of BELBUCA. (Tr.891:23-892:1.)

         Defendants Finding No. 96.       Birch discloses aqueous buprenorphine
         solutions, which can “induce rapid and prolonged analgesia when delivered
         intranasally to a patient.” (DTX-203-0001 at abstract.)

         DFF96.       Denied. Defendants’ characterization is incomplete. Birch

   describes formulations that are “suitable for intranasal administration” and contains

   excipients for nasal delivery. DTX-203-0001. Birch also has no relevance to the



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   oral transmucosal devices at issue in this case, or the enhanced uptake of such

   devices, and Defendants have not presented any evidence to the contrary.

         Defendants Finding No. 97.     The solutions have a pH between 3 and 4.8,
         where a POSA would have understood buprenorphine to be 100% ionized,
         and provide “rapid uptake” of buprenorphine across the nasal mucosa into
         the plasma. (DTX-203 at [0010]-[0021], [0071], [0083]; Tr. 171:3-172:22.)

         DFF97.       Denied. Birch does not discuss ionization states of

   buprenorphine. See Resp. DFF65, 96.

         Defendants Finding No. 98.        The BEMA delivery device of Tapolsky
         satisfies all requirements of claims 3 and 10 of the ’866 patent, and claims 8,
         9, and 20 of the ’843 patent, except that Tapolsky does not disclose
         buprenorphine, and does not disclose that the polymeric diffusion
         environment is buffered to the claimed pH ranges. (Tr. 109:22-110:17.)

         DFF98.       Denied. See Resp. DFF1; PFF1-14.

         Defendants Finding No. 99.      BDSI did not offer any contrary testimony
         regarding the disclosure of Tapolsky. (Tr. 650:22-652:7.)

         DFF99.       Denied. See Resp. DFF1; PFF1-14. Further, it is Defendants’

   burden to show obviousness in view of the prior art.

         Defendants Finding No. 100. A POSA would have been motivated to use
         buprenorphine in Tapolsky’s BEMA platform because of the known
         properties of buprenorphine, and because the prior art taught its formulation
         in a BEMA device for buccal delivery. (Tr. 112:16-23, 129:23-130:19; see
         also Tr. 109:12-110:17, 247:13-16, 247:25-248:16.)

         DFF100.      Denied. The entirety of the prior art demonstrates that there

   was no such motivation. See e.g. (Tr.653:22-654:18); PFF1-14; Resp. DFF1.

         Defendants Finding No. 101. Johnson teaches that buprenorphine has
         been available as a parenteral and sublingual analgesic since the 1970s, and
         “has been found to be amenable to new formulation technology based on its
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         physiochemical and pharmacological profile.” (DTX-165-0001; Tr. 96:15-
         25; see D.I. 249 at 5.)

         DFF101.      Admitted.

         Defendants Finding No. 102. Cassidy taught that buprenorphine is 20-40
         times more potent than morphine. (JTX-248-0001; Tr. 94:20-25, 99:11-15;
         see D.I. 249 at 4.) Cassidy recognized that buprenorphine has high first pass
         effect but suggested that buccal delivery “offers advantages in terms of
         accessibility” while providing “the ability to provide controlled delivery for
         extended periods of time.” (JTX-248-0001; Tr. 94:20-96:2.) A POSA would
         have known that “administration of an analgesic at a constant rate results in
         both optimal patient comfort and a reduced total amount of analgesic,” such
         that “[c]ontrolled delivery of buprenorphine may, therefore, offer advantages
         in pain management.” (JTX-248-0001; Tr. 94:20-96:2.)

         DFF102.      Denied. See Resp. DFF57; PFF51-52. By 2005, it was known

   that buccal strips had poor bioavailability. DTX-165-0007, Fig. 3. PFF20.

   Further, the cited testimony does not support this finding.

         Defendants Finding No. 103. At trial, BDSI agreed that Cassidy teaches
         that buprenorphine is 20-40 times more potent than morphine and has a high
         first pass effect. (DDX4-5; Tr. 143:12-13; see also D.I. 249 at 4.)

         DFF103.      Admitted

         Defendants Finding No. 104. A POSA would have known from Johnson,
         Bullingham I, and Cassidy that buprenorphine is a potent opioid analgesic
         that is highly lipophilic, meaning it absorbs well even in ionized form, and
         experiences high first pass effect requiring transmucosal or other delivery
         that avoids liver metabolism. (DTX-165-0001-0003, 0005, 0008-0009; Tr.
         96:4-98:22, 485:1-487:1; DTX-077-0001, 0005; Tr. 91:2-19, 93:25-94:9;
         JTX-248-0001-0002; Tr. 94:16-96:2.)

         DFF104.      Denied. The prior art showed that buprenorphine was not

   absorbed “well” and buprenorphine formulations, other than intravenous or

   injection, had poor bioavailability. PFF18-22; DTX-165-0006-0007, Fig. 3. None
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   of Johnson (DTX-165), Bullingham-I (DTX-077, or Cassidy (JTX-248) discusses

   ionization. See Resp. DFF65.

         DEFENDANTS FINDING NO. 105. A POSA also would have known
         from Johnson, Bullingham I, and Cassidy that the oral transmucosal
         administration of buprenorphine provides an effective, convenient delivery
         route that avoids the first pass effect. (DTX-077-0001,0005; JTX-248-0001;
         DTX-165-0002; Tr. 91:10-19, 92:14-18, 93:8-13, 94:20-95:16, 99:11-15.)

         DFF105.          Denied. Buprenorphine was not shown to be effective for

   chronic pain in the Unites States as of 2006. See PFF 15-16. Even today, there

   are no studies showing Suboxone® works to treat chronic pain. See PFF65-66.

   Buccal and sublingual formulation of buprenorphine as of 2006 were plagued by

   low bioavailability. See Resp. DFF104; PFF 18-21.

         Defendants Finding No. 106. Cassidy teaches that buccal devices could
         improve bioavailability by providing unidirectional delivery that avoids loss
         due to swallowing. (JTX-248-0001; Tr. 95:10-13.)

         DFF106.          Denied. Cassidy (1993) theorizes about using a device with an

   impermeable backing layer, which is entirely different from the bioerodible

   devices of the patents-in-suit. (JTX-001, claim 1.) Cassidy uses two

   formulations— non-woven and hydrogel—which are not taught by the patents-in-

   suit. (Tr.269:9-17.)

                PFF70. There were no commercially available buccal two-layer films

                delivering buprenorphine before BELBUCA, which first became

                available in 2016.


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         Defendants Finding No. 107. Yang, Chen and Das illustrate the broad
         application of the BEMA platform to opioids like buprenorphine.4 (DTX-
         175 at [0014], [0131]; DTX-176-0005-0006, 0008; DTX-323-0003; Tr.
         123:14-124:3, 124:4-125:8, 128:16-129:22.) n.4: Yang, Chen, and Das
         published prior to July 21, 2006, the earliest possible filing date of the ’866
         and ’843 patents. (DTX-175-0001; DTX-176-0001; DTX-323-0001.)

         DFF107.       Denied. The cited testimony does not substantiate the assertion

   that Yang, Chen and Das illustrate a “BEMA platform” or its “broad application”

   to opioids. See Resp. DFF1; PFF71-75.

         Defendants Finding No. 108. Yang discloses mucoadhesive polymeric
         “rapid dissolve film products” for the transmucosal administration of
         opioids, which can include buffers. (DTX-175 at [0014], [0131], [0133],
         [0161], [0209]-[0210]; Tr. 128:16-129:22.)

         DFF108.      Denied. See PFF 71-75.

               PFF71. Yang teaches that historically, using films as drug delivery

               systems have suffered from a number of unfavorable characteristics

               that have not allowed them to be used in practice. (Tr.275:3-11.)

               PFF72.“Yang does not teach an example of the use of any opioid in

               any device.” (Tr.276:8-10.)

               PFF73. Yang does not teach any plasma concentrations of

               buprenorphine. (Tr.275:24-276:1.)

               PFF74. Yang does not teach any pH values for any mucoadhesive

               layer, nor does it teach buffering the pH of a polymeric diffusion

               environment. (Tr.276:2-7, 11-13.)


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               PFF75. Yang does not teach any pH values for any backing or barrier

               layer. (Tr.276:5-7.)

         Defendants Finding No. 109. Chen teaches a mucoadhesive film including
         an effective amount of a drug, such as an opiate like hydromorphone,
         dispersed in a polymeric diffusion environment. (DTX-176-0005-0006,
         0008; Tr. 124:4-125:88.)

         DFF109.     Denied. The cited testimony does not support the proposed

   finding. “Chen was interested in Sildenafil.” (Tr.272:12-14); See DFF 76-80.

               PFF76. Chen discloses an effective dose of Sildenafil citrate formed

               into a solid dispersion with Xylitol to treat erectile dysfunction.

               (Tr.272:18-21.)

               PFF77. Chen was not interested buprenorphine. (Tr.272:12-14.)

               PFF78. Chen does not teach any plasma concentrations of

               buprenorphine. (Tr.273:11-13.)

               PFF79. Chen does not teach any device having a backing or barrier

               layer. (Tr.273:14-16.)

               PFF80. Chen does not teach any pH values for any mucoadhesive

               layer. (Tr.273:17-19.)

         Defendants Finding No. 110. Das predicted that the use of a
         “mucoadhesive delivery system” for buprenorphine would improve its
         bioavailability, and describes mucoadhesive tablets and films for sublingual
         delivery. (DTX-323-0003; Tr. 123:14-124:3.)

         DFF110.     Denied. See PFF81-87.


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               PFF81. Das teaches away from the inventions claimed in the patents-

               in-suit. “Das concludes that the mucoadhesive tablet formulations

               produced overall superior results compared with the mucoadhesive

               film formulations.” (Tr.270:3-6); DTX323-0007.

               PFF82. Das further teaches away, explaining that mucoadhesive

               polymer film formulations without plasticizers are not suitable for

               industrial scaleup. (Tr.271:3-8); DTX323-0004.

               PFF83. Das teaches that studies on buprenorphine drug delivery

               systems are relatively few. (Tr.270:11-13.)

               PFF84. Das does not teach any plasma concentrations of

               buprenorphine. (Tr.271:22-24.)

               PFF85. Das does not teach any pH values for a mucoadhesive layer.

               (Tr.271:25-272:2.)

               PFF86. Das does not teach any pH values for a backing or barrier

               layer. (Tr.272:3-5.)

               PFF87. Das does not provide any data demonstrating an enhanced

               uptake of any pharmaceutical ingredient. (Tr.272:6-8.)

         Defendants Finding No. 111. POSAs believed that a “mucoadhesive
         delivery system” generally, and BEMA films specifically, could improve
         bioavailability over sublingual tablets by providing unidirectional delivery
         that avoids loss due to swallowing. (JTX-248-0001; DTX-323-0003; Tr.
         95:10-13.)


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         DFF111.      Denied. See DFF1, PFF1-14, 81. The cited testimony does not

   substantiate this assertion; it does not contain a discussion regarding “BEMA films

   specifically.” Rather, it contains Dr. Michniak-Kohn’s opinions regarding

   proposed advantages of buccal delivery. Further, Dr. Michniak-Kohn is discussing

   Johnson (DTX-165)—not Cassidy (JTX-248) and Das (DTX-323).

         Defendants Finding No. 112. Tapolsky and Moro teach that BEMA
         devices can transmucosally deliver opioids generally, and Moro teaches
         buprenorphine specifically. (DTX-173 at [0046]-[0053]; DTX-362-001 at
         abstract; DTX-178 at [0035], [0046], [0048], [0064]; Tr. 110:18-112:1,
         112:16-23, 121:9-17, 117:22-118:11, 118:12-22, 120:13-16, 129:23-130:19,
         261:4-262:3.)

         DFF112.      Denied. See Resp. DFF1; PFF1-14, 29-36.

         Defendants Finding No. 113. Known therapeutic ranges for buprenorphine
         were 300-600 μg for injection and 200-400 μg for sublingual tablets. (DTX-
         174-0002 at 1:12-14; DTX-165-0020; Tr. 134:3-5.)

         DFF113.      Denied. Trial testimony does not substantiate this assertion.

   The cited portion of the transcript provides the following from Dr. Michniak-

   Kohn: “Again, literature publishes, basic knowledge. You would be able to achieve

   the delivery of buprenorphine in adequate amounts to treat chronic pain.”

   Furthermore, Dr. Michniak-Kohn was providing her explanation for “how BEMA

   devices” work in this answer, which does not include any specific reference to

   Todd (DTX-174) or Johnson (DTX-165).

         Defendants Finding No. 114. Providing an effective amount of an opioid
         like buprenorphine in the BEMA devices of Tapolsky or Moro would have


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         been a matter of routine skill. (DTX-173 at [0034], [0054]; Tr. 129:23-
         130:19, 131:19-23,134:3-5.)

         DFF114.      Denied. As explained above, Tapolsky-2005 and Moro do not

   teach BEMA devices. See Resp. DFF1; PFF1-14, 29-36. Further, none of the

   Defendants’ citations concern Moro.

         Defendants Finding No. 115. Claims 3 and 9 of the ’866 patent are
         directed to Tapolsky’s BEMA device containing buprenorphine buffered to a
         pH “between about 4.5 and about 5.” (JTX-001-0012, 019 at 13:1-4, claim 3,
         claim 9.) Claims 8, 9 and 20 of the ’843 patent are directed to Tapolsky’s
         BEMA device containing buprenorphine buffered to a pH “between about 4
         and about 6.” (JTX-002-0014, 0021 at 13:26-32, claim 8, claim 9, claim 20.)

         DFF115.      Denied. See Resp. DFF1, PFF1-14. Claim 9 of the ’866 patent

   was not asserted at trial. Claim 9 of the ’843 patent contains a buffered polymeric

   diffusion environment buffered to between about 4 and about 7.5.

         Defendants Finding No. 116. “Basic science” and common sense dictate
         that buprenorphine must dissolve from the BEMA device into the saliva
         before it can permeate the mucosa. (Tr. 132:14-134:2, 701:13-702:5.) Dr.
         Williams acknowledged this fact. (Tr. 701:13-702:5.)

         DFF116.      Denied. See PFF23-28.

         Defendants Finding No. 117. Dr. Williams testified that buprenorphine is
         a BCS-II drug, and that a POSA would have known that buprenorphine
         would absorb across the mucosa if dissolved and ionized—such as in saliva
         buffered to a pH between 4 and 5. (Tr. 699:18-700:4.)

         DFF117.      Denied. See PFF23-28, 37.

         Defendants Finding No. 118. There is no dispute that the solubilization of
         buprenorphine from a BEMA device is highly pH dependent. (Tr. 133:2-6,
         133:15-21, 146:6-12, 689:21-690:7.)



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         DFF118.      Denied. The cited portion of Dr. Williams’ testimony, states

   that “the dissolution of buprenorphine from these films is pH dependent.” (Tr.

   689:21-690:7.) Further, part of the cited testimony of Dr. Michniak-Kohn states

   that “the process of dissolution and ionization are highly influenced by pH.”

   (Tr.146:6-12.) The issue of dissolution is not relevant to this case. Further, as

   discussed above, buprenorphine is already solubilized in the claimed device and

   does not need to dissolve in saliva. See PFF23-28.

         Defendants Finding No. 119. In addition, there is no dispute that
         buprenorphine must ionize in order to dissolve, and its ionization is likewise
         highly pH dependent. (Tr. 146:6-12; 670:6-20; 671:16-674:1.)

         DFF119.      Denied. See PFF23-28.

         Defendants Finding No. 120. The dissolved and ionized buprenorphine
         then moves through the mucoadhesive layer by concentration gradient and
         permeates the mucosal surface, where it is absorbed into the bloodstream.
         (Tr. 132:22-133:14.) A POSA would have known that buprenorphine has to
         be dissolved to be able to permeate the mucosa. (Tr. 132:22-133:6.)

         DFF120.      Denied. See PFF23-28.

         Defendants Finding No. 121. Cassidy shows that the solubility of
         buprenorphine is highly pH-dependent and increases exponentially as pH
         drops from 5 to 4, where it remains 100% ionized. (JTX-248-0004, Figure 1;
         Tr. 147:7-23, 151:17-24; DTX-377-0002, 0004; Tr. 162:14-164:19; 165:21-
         166:11.)

         DFF121.      Denied. See Resp. DFF57, PFF51-52.

                PFF88. The data in Cassidy for lower pH values may not be reliable.

                (Tr.268:14-16.)


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               PFF89. Cassidy teaches two formulations— non-woven and

               hydrogel—which are not taught in the patents-in-suit. (Tr.269:9-17.)

               PFF90. Cassidy does not teach the use of any backing layer.

               (Tr.269:18-20.)

               PFF91. Cassidy does not teach any human pharmacokinetic data.

               (Tr.269:21-23.)

         Defendants Finding No. 122. Cassidy shows that the solubility of
         buprenorphine is highly pH-dependent and increases exponentially as pH
         drops from 5 to 4, where it remains 100% ionized. (JTX-248-0004, Figure 1;
         Tr. 147:7-23, 151:17-24; DTX-377-0002, 0004; Tr. 162:14-164:19; 165:21-
         166:11.)

         DFF122.     Denied. DFF57, 65; PFF51-55, 88-91.

         Defendants Finding No. 123. A POSA would have expected that a
         polymeric diffusion environment of Tapolsky buffered to a pH around these
         values would provide the highest amount of dissolved and ionized
         buprenorphine to be available for absorption. (Tr. 146:6-12, 153:9-20,
         166:12-23.) Thus, a POSA would have buffered the polymeric diffusion
         environment of Tapolsky’s device to acidic pH values with a reasonable
         expectation of optimizing the transmucosal absorption of buprenorphine.
         (Tr. 200:22-201:13.)

         DFF123.     Denied. The entire trial record shows that this is not the case.

   See Resp. DFF57, PFF23-28, PFF46-52. This also mischaracterizes the claimed

   invention, which is to obtain enhanced uptake, which the inventors unexpectedly

   accomplished. See PFF12.

         Defendants Finding No. 124. The prior art corroborates this expectation –
         pH values of 3-4.8 (Birch), 3.5 (Suboxone®), 4-5 (Cassidy), 4- 6 (Todd),
         and 6.5 (Weinberg). Regardless of dosage form, prior art transmucosal

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         formulations provide buprenorphine at acidic pH where it is dissolved and
         ~100% ionized, and demonstrate its absorption. (JTX-249-0006; DTX-174-
         0003 at 2:11-17; DTX-377-0002, 0004; DTX-365-0003 at ¶ 5; DTX-365-
         0003 at ¶ 5; DTX-203 at [0010]-[0021], [0071], [0083]; Tr. 154:11-16,
         160:17-162:3, 162:14-164:19; 165:21-166:11; 167:18-172:22, 174:12-
         175:25.)




         (DDX 4-22.) Therefore, the prior art confirms that a POSA would have
         expected dissolved and ionized buprenorphine to readily permeate mucosal
         membranes at these acidic pH values.

         DFF124.      Denied. See Resp. DFF57, 65, PFF23-28, 46-52. Further, that

   buprenorphine formulations were absorbed in the prior art at some low level is not

   the claimed invention, which are oral transmucosal formulations that provide

   enhanced uptake, as measured by bioavailability and plasma concentration. See

   e.g., JTX-001-0001, 0006, 0007, 0018, claim 1. The oral transmucosal

   formulations of the prior art had poor bioavailability. See Resp. DFF10; PFF18-21.

         Defendants Finding No. 125. Dr. Williams agreed that Todd, for example,
         taught a POSA that buprenorphine absorbs transmucosally at acidic pH
         values where it is ~100% ionized. (Tr. 671:16-674:1.)
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         DFF125.      Denied. Todd does not describe ionization conditions. See

   Resp. DFF65; DTX-0174. Dr. Williams was not asked whether the ionization

   states of buprenorphine were known as of 2006. Further, Todd used acidic pH

   values for the purpose of getting buprenorphine to solubilize, not to enhance

   uptake. PFF58-61. Todd was also forced to use aqueous ethanol to solubilize the

   buprenorphine. PFF61.

         Defendants Finding No. 126. Because the pH of saliva varies from 5.8 to
         around 7, which is not ideal for dissolving buprenorphine, a POSA would
         provide buffers in the polymeric diffusion environment that dissolve in and
         acidify the saliva. (Tr. 153:9-24.)

         DFF126.      Denied. See PFF23-28.

         Defendants Finding No. 127. The prior art taught that buffer systems
         maintain active agents in their ionized form to help “overcome the influence
         of the conditions of the surrounding environment, such as rate of saliva
         secretion, pH of the saliva, and other factors.” (JTX-462 at [0057], Table 5;
         Tr. 153:3-8, 173:18-174:11.)

         DFF127.      Denied. See PFF23-28.

         Defendants Finding No. 128. POSAs knew how to buffer transmucosal
         formulations of buprenorphine for this purpose. (Tr. 173:18-174:11.) For
         example, both Todd and Suboxone® include citric acid/sodium citrate
         buffers – the same buffers that are in Belbuca.® (DTX-174-003-004 at 2:21-
         3:4, Example 1, Example 17; DTX-172-0002, 0024; Tr. 153:25-154:10,
         160:17-25, 173:18-174:2, 174:7-11, 694:3-23.) Just as BDSI did for
         BELBUCA, a POSA would have copied the acidifying buffers of Todd and
         Suboxone® in formulating Tapolsky’s BEMA device for buprenorphine
         delivery. (Tr. 153:25-154:10, 160:17-25, 200:22-201:13.)

         DFF128.      Denied. See Resp. DFF1, PFF1-14. Buprenorphine is already

   solubilized in them mucoadhesive layer of the claimed invention. Resp. DFF38;

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   PFF23-28, 52. The liquid formulations relied on by Defendants are not applicable

   to the claimed solid film devise. Tr.653:22-655:8; PFF23-28, 57-63, 51-52; see

   also Resp. DFF57. Defendants also mischaracterize the teachings of the alleged

   Suboxone® label. See Resp. DFF88. There is nothing in the record that shows

   BDSI copied the acidifying buffers of Todd and Suboxone®.

         Defendants Finding No. 129. In view of the transmucosal formulations of
         Suboxone® and Todd, a POSA would have reasonably expected to use a
         citric acid/sodium citrate buffer in the polymeric diffusion environment of
         Tapolsky’s device to maintain an acidic environment at the oral mucosa
         during bioerosion of the device. (Tr. 200:22-201:13.)

         DFF129.      Denied. See Resp. DFF1; PFF1-14, 23-28. Todd used a low

   pH range for solubility/stability. PFF57-63. In the claimed inventions,

   buprenorphine is already solubilized in the mucoadhesive layer and the point of the

   invention is to enhance uptake. See e.g., JTX-001-0001, 0006, 0007, 0018, claim

   1; Resp. DFF38; PFF52. The prior art oral transmucosal formulations had poor

   bioavailability. PFF18-21; see Resp. DFF10. Moreover, it was known that for

   weakly basic drugs—e.g., buprenorphine—that absorption increased with an

   increase in pH, where the drug was predominately in its unionized form. PFF46-

   50. The inventors unexpectedly found that lower pH values enhanced

   bioavailability. PFF12.

         Defendants Finding No. 130. Todd would have provided a POSA with a
         reasonable expectation of successfully delivering buprenorphine from
         Tapolsky’s device having a polymeric diffusion environment buffered to an


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         acidic pH of about 4, about 5, or about 6, and from a pH of about 4.5-5.5.
         (Tr. 174:12-175:2.)

         DFF130.       Denied. See Resp. DFF128-29.

         Defendants Finding No. 131. The ’866 and ’843 patents describe several
         opioids that can be used in the invention, including fentanyl, buprenorphine,
         and butorphanol. (JTX-001 at 9:54-67; JTX-002 at 10:5-24; Tr. 683:4-
         684:18.)

         DFF131.       Denied. The claims are limited to buprenorphine. E.g., JTX-

   001 at claim 1.

         Defendants Finding No. 132. Dr. Williams testified that the ’866 and ’843
         patents provide sufficient direction for a POSA to determine the optimal pH
         range for any of the opioids disclosed, even though the patents do not
         include a specific pH teaching for any opioids other than buprenorphine and
         fentanyl. (JTX-001-0011 at 11:49-12:10; JTX-002-0013 at 12:5-33; Tr.
         684:19-685:12, 685:16-686:10.)

         DFF132.       Denied.    Defendants mischaracterize Dr. Williams’ testimony.

   Dr. Williams testified that the patents give a POSA “the tools as to . . . how to

   conduct the assessment to see if the pH within the range that’s described in the

   patent, whether it would lead to enhanced absorption or not.” (Tr.685:22-686:5.)

         Defendants Finding No. 133. The time to first measurable concentration
         (i.e., Tfirst) in claim 4 and the duration of effective buprenorphine
         concentration in claim 5 are inherent properties of the device and dose
         administered as well as the sensitivity of the assay used to measure plasma
         concentration. (Tr. 327:12-328:12.)

         DFF133.       Denied. This finding does not indicate what “device” it is

   referring to and is vague. The cited testimony does not support the proposed




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   finding, and for example, is silent about the assertion that claims 4 and 5 are

   “inherent properties.”

         Defendants Finding No. 134. In view of Bullingham I, a POSA would
         have reasonably expected achieving a Tfirst of about 45 minutes by
         administering buprenorphine in Tapolsky’s BEMA device. (Tr. 343:16-
         344:1.)

         DFF134.      Denied. A POSA would not have had such a reasonable

   expectation. (Tr.807:18-809:25, 810:21-822:14); See Resp. DFF1; PFF37-42.

   Indeed, Dr. Shafer admitted that Bullingham-I does not provide buprenorphine

   plasma concentrations at 45 minutes. (Tr.403:11-13.)

         Defendants Finding No. 135. A POSA would understand that
         buprenorphine can be administered using Tapolsky’s BEMA device to
         maintain an effective concentration of at least 4 hours. DTX-173, Table 5;
         Tr. 346:2-14.

         DFF135.      Denied. See Resp. DFF1. A POSA would not have had such

   an understanding. (Tr.807:18-25, 810:1-810:20); PFF43-45.

         Defendants Finding No. 136. The buprenorphine concentration-related
         parameters recited in claims 4 and 5 are not described in the ‘866 patent as
         providing any particular benefit, much less an unexpected result, when
         buprenorphine is administered transmucosally according to claim 1. (See
         generally JTX-001.)

         DFF136.      Denied. The ’866 patent cites the values in Table 4, which

   include the pharmacokinetic parameters in claims 4 and 5, and states that “[a]s

   demonstrated in Table 4, the delivery device of the present invention at pH 6

   appeared to provide enhanced uptake . . . .” JTX-001, col.25:64-66.


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         Defendants Finding No. 137. In Table 4 of the ‘866 patent, the Tfirst for
         buprenorphine is 45 minutes for devices having a pH of 6 that are within the
         scope of claim 1 allegedly providing an enhanced uptake as well as devices
         having a pH of 7.25 that are outside the scope of claim 1. (JTX-001-0018 at
         25:64-26:10.)

         DFF137.      Denied. Plaintiffs do not understand this finding and thus deny

   it. The Tfirst for the device with the polymeric diffusion environment of a pH of 6

   is 45 minutes. JTX-001, Table 4.

         Defendants Finding No. 138. The ’866 patent does not describe any
         benefit in maintaining buprenorphine concentrations effective for pain relief
         for at least 4 hours in contrast to shorter time periods. (JTX-001-0009 at
         7:67-8:5.)

         DFF138.      Denied. The ’866 patent describes the treatment of various

   types of pain, including chronic pain and acute pain. JTX-001-col.4:55-5:16.

   Defendants have presented no evidence that all such pain conditions last less than

   four hours.

         Defendants Finding No. 139. During prosecution, the Examiner
         specifically rejected claims 4-5 in several Office Actions. (JTX-004-0211-
         0213; JTX-004-0260-0262; JTX-0004-0303-0305.)

         DFF139.      Admitted. This finding is irrelevant as the Examiner ultimately

   allowed the claims to issue, which are presumed valid.

         Defendants Finding No. 140. In response, BDSI did not separately argue
         patentability based on the limitations in these claims. (JTX-004-0231-0234;
         JTX-004-0281-0285; JTX-004-0315-0322; JTX-004-0330.)

         DFF140.      Denied. Claims 4 and 5 contain the pH limitations that are in

   Claim 1 of the ’866 patent. The pH limitations were sufficient to distinguish the


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   claims over the prior art, including Moro and Guo. JTX-004-0341. Nothing else

   was required.

         Defendants Finding No. 141. In a petition for accelerated examination in
         the ’866 patent, BDSI told the PTO that Tapolsky does “not teach
         administration of an opioid” (JTX-004-0033.) This is incorrect. Tapolsky
         teaches the administration of the opioid butorphanol as suitable for use in the
         BEMA platform. (DTX-173 at [0053], Tr. 112:16-23, 693:1-694:2.)
         Butorphanol is also listed in the specification of the ’866 patent. (JTX-001
         9:54-10:6; Tr. 112:5-15.)

         DFF141.      Denied. See Resp. DFF19.

         Defendants Finding No. 142. During prosecution of the ’866 patent, BDSI
         submitted the Declaration of Dr. Andrew Finn signed September 12, 2011
         (the “Finn Declaration”). (JTX-004-0231-36.)

         DFF142.      Admitted

         Defendants Finding No. 143. The Finn Declaration states, “the devices
         which include a polymeric diffusion environment which is a buffered
         environment having a pH of between 4 and about 6 exhibit dramatically
         improved Cmax and/or bioavailability as compared to devices having a
         polymeric diffusion environment at a pH of 7.25 or those having no buffered
         environment[.]” (JTX-004-0234.) Table 1 of the Finn Declaration sets forth
         the pharmacokinetic data for the devices that include a polymeric diffusion
         environment, and for Suboxone®. (JTX-004-0233-0234.)

         DFF143.      Admitted.

         Defendants Finding No. 144. The Finn Declaration states that the
         increased bioavailability at lower pH values was “unexpected and could not
         have been predicted from a mere change in pH [.]” (JTX-004-0234.)

         DFF144.      Denied. The Finn Declaration states: “Such enhanced bio-

   availability in the bioerodable device described in the present invention was




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   unexpected and could not have been predicted from a mere change in pH or

   adhesive capability.” JTX-365-0004 (emphasis added).

         Defendants Finding No. 145. Given that the solubility of buprenorphine
         was known to exponentially increase as pH drops from about 5 to about 4,
         and was lower at higher pH values, it was not surprising that the Cmax and
         bioavailability of buprenorphine would also increase for formulations in that
         pH range. (Tr. 182:14-183:17.) This is confirmed by a development report
         submitted to FDA in connection with the BELBUCA New Drug
         Application, which states, “[b]ased on buprenorphine pKa (8.5) and
         solubility data (solubility decreases as pH increases), the results for both
         film strengths in pH 6.8 dissolution media are low as expected.” (DTX-024-
         0016; Tr. 687:17-688:14, 692:3-20) (emphasis added).

         DFF145.       Denied. Cassidy’s data in aqueous environments is not

   applicable to the claimed polymeric diffusion environment. PFF51-52; Resp.

   DFF57.    Further, Cassidy does not teach anything about enhanced uptake, as

   measured by bioavailability or Cmax in humans. PFF91. The buprenorphine

   formulations in the prior art at low pH values were soluble, but also had poor

   bioavailability. See Resp. DFF10; PFF18-21. Further, the chart produced at DTX-

   024 is from dissolution studies of the entire film in different liquid buffer solutions

   conducted by Endo in 2014, for quality control purposes. DTX-024-00015-16.

   Such studies have nothing to do with the operation of the invention in actual use or

   the enhanced bioavailability from the mucoadhesive layer. PFF23-28.

         Defendants Finding No. 146. The Finn Declaration states that Suboxone®
         was not buffered. (JTX-0004-233, Tr. 181:24-182:21.) However,
         Suboxone® contains a citric acid-sodium citrate buffer as also utilized in
         BEMA films. (JTX-0004-233, DTX-172-2; Tr. 153:25-154:10, 694:3-23,
         698:6-699:17.) The Finn Declaration also incorrectly states that the pH of

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         Suboxone® is “N/A”. (JTX-0004-234, see DTX-365-003 at ¶¶ 4-5; Tr.
         161:4-162:1; see also Tr. 693:18-694:1.)

         DFF146.       Denied. Dr. Williams explained that just because Suboxone®

   has citric acid and sodium citrate, this does not mean it is buffered. (Tr.694:20;

   699:9-14.)   Further, Defendants’ allegations about the Suboxone® label are

   incorrect. See Resp. DFF88. And, as testified by Dr. Williams, that Suboxone®

   was or was not buffered has no impact on the unexpected data set forth in the chart.

   (Tr.702:21-703:-8.)

         Dr. Finn’s declaration correctly indicted the pH of Suboxone was “N/A.”

   Finn’s declaration was dated in 2011 and the study comparing BEMA devices 1

   and 2 with Suboxone® were performed in 2006. JTX-352-0002. There is nothing

   in the literature as of 2006 or 2011 that states the pH of Suboxone®. The Reitman

   declaration, upon which Defendants rely, was created in 2014. DTX-365. Further,

   Dr. Williams offered unrebutted testimony that there was no standard technique for

   dissolving a tablet in water to determine its pH in either the prior art or today and

   that the amount of water used in the test would affect the results. (Tr.703:9-704:6.)

   The pH of the of Suboxone® tablets was not in the prior art.

         Defendants Finding No. 147. In Table 1 of the Finn Declaration, the pH of
         the BEMA 1 formulation is listed as 7.25 and the pH of the BEMA 2
         formulation is listed as 6.0. However, the actual pH of BEMA 1 was 6.8 and
         the actual pH of BEMA 2 is 5.3, as confirmed by a document in BDSI’s
         NDA for BELBUCA provided to FDA. (DTX-024-0006; Tr. 183:22-184:8,
         192:12-193:7, 687:17-688:14.)


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         DFF147.      Denied. This finding cites to part of the NDA submitted by

   Endo Pharmaceuticals in 2014 (DTX-024), not BSDI. There is no explanation for

   when or how Endo came up with these numbers or whether they were obtained

   under similar conditions. (Tr.290:13-20.) Study BUP-101, which was conducted

   in 2006, specified the pH of BEMA 1 and BEMA 2, and reported that the pH

   values were 7.25 and 6.0, just as set forth in the declaration. See e.g., JTX 352-

   0011, 0013, 0014, 0015, 00022, 0024, 0027. Dr. Finn specifically testified that the

   number for BEMA 1 and 2 in his declaration came from the BUP-101 study.

   (Tr.772:7-772:14.) And BDSI’s version of the pharmaceutical development report,

   also signed, reviewed, and approved, by Endo personnel, describes the pH of the

   first two formulations as 7.25 and 6. DTX 019-0003, 0027.

         Defendants Finding No. 148. Dr. Williams testified that the developers of
         BELBUCA referred to the Cassidy reference when they were determining
         the solubility of buprenorphine. (Tr. 680:12-16.)

         DFF148.      Denied. Dr. Williams testified that “when the developers of

   Belbuca were determining solubility of buprenorphine in aqueous buffers, they

   referred to the Cassidy reference.” (Tr.680:12-16.) This is not akin to the

   solubility in a polymeric diffusion environment. (Tr.624:6-11); see Resp. DFF70.

         Defendants Finding No. 149. BEMA 1 and BEMA 2 were the only
         formulations tested prior to the filing date of the ’866 patent and were
         discussed in Example 4 (with data presented in Table 4). The data for
         BEMA 3-7, as presented in the Finn Declaration, were generated after the
         filing date of the ’866 patent. (JTX-004-0233; Tr. 183:18-21.)


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         DFF149.      Admitted.

         Defendants Finding No. 150. The inventors of the ’866 patent must have
         been aware of the pH dependent solubility of buprenorphine as taught by
         Cassidy, because otherwise they would have been unable to arrive at the
         lower limit of the claimed 4-6 pH range based on the data for BEMA 1 and
         BEMA 2 alone. (See Tr. 183:18-21.)

         DFF150.      Denied. Dr. Vasisht testified that he was surprised by the

   results he obtained with the devices he tested at pH 6 and pH 7, where the device at

   pH of 6 was surprisingly better than the device at pH of 7. For this reason, he

   tested devices with lower pH values. (Tr.753:17-756:2, 759:5-760:11.) Further,

   the Cassidy data is not applicable to the polymeric diffusion environment. See

   Resp. DFF57, PFF51-52.

         Defendants Finding No. 151. Dr. Thisted’s analyses found no statistically
         significant difference between BEMA 1 and BEMA 2 with respect to Cmax
         or AUC, meaning that any difference between the two is plausibly
         attributable to chance. (Tr. 946:14-947:17.)

         DFF151.      Denied. Dr. Thisted’s analysis showed that the differences in

   Cmax and AUC between BEMA 1 and BEMA 2 in isolation are not statistically

   significant. (Tr.944:10-945:19); see also PFFs 225-237. But he testified that there

   were differences when one looked at the data as whole. Id.

                PFF92. The Cmax for BEMA2-7 were 32%, 92%, 215%, 190%,

                132%, and 166% higher, respectively, than the Cmax for BEMA1.

                (Tr.443:24-444:24, 943:8-944:9.)



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               PFF93. The strong trend in the Cmax data for BEMA 1-7 and the

               highly statistically significant differences between BEMA 3-7

               compared to BEMA 1 gives a POSA confidence that the differences

               between BEMA 2 and BEMA 1 are not due to chance or random

               variation. (Tr.944:10-945:19.)

         Defendants Finding No. 152. Demonstrative DDX6 (reproduced below)
         accurately depict how a graph of pH vs. Cmax would look with the correct
         pH values for BEMA 1, BEMA 2 and Suboxone®. (DDX6, see Tr. 948:21-
         24.) The white dots indicate the data provided to the PTO for BEMA 1-2,
         and the red lines indicate that the actual pH values were lower, and the blue
         dots following the red lines indicate the actual pH values provided to FDA
         for BEMA 1-2. The blue square is the pH value for Suboxone® that Dr.
         Thisted inferred, and the red square is the actual pH value for Suboxone®.
         The remaining blue dots are for BEMA 3-7 as reported by Dr. Finn in his
         declaration.

         DFF152.      Denied. The cited testimony does not state that the “correct”

   pH values for BEMA 1, BEMA 2 and Suboxone® are 6.8, 5.3, and 3.5,

   respectively. Dr. Thisted did not “infer” a pH value for Suboxone®. (Tr.942:5-7.)

   See Resp. DFF146, 151, PFF92-93.

         Defendants Finding No. 153. During prosecution of the ’843 patent, BDSI
         submitted the Declaration of Dr. Niraj Vasisht, signed March 23, 2017.
         (JTX-005-2769-776.)

         DFF153.      Admitted.

         Defendants Finding No. 154. During prosecution of the ’866 patent, BDSI
         argued that the Todd reference relates primarily to the stability of aqueous
         buprenorphine solutions and that the solutions “may merely migrate to
         another aqueous solution, the saliva, while the solution is in the subjects
         mouth.” (JTX-005-2771.) However, Todd teaches sublingual delivery of

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         buprenorphine, and discusses the “uptake of the drug” which refers to the
         passage of drug through the mucosa, i.e., absorption. (DTX-0174-0003 at
         2:11-17; Tr. 175:1-2.)

         DFF154.      Denied. Dr. Vasisht was correctly distinguishing the claimed

   invention from Todd, where buprenorphine is in liquid form and is held under the

   tongue in saliva in an aqueous environment. DTX-0174. Unlike Todd, the

   buprenorphine in the claimed invention is solubilized in the mucoadhesive layer in

   the form of a molecular dispersion and diffuses directly through the mucosa. See

   PFF23-28.

         Defendants Finding No. 155. The priority date of claims 9 and 20 of the
         ’539 patent is December 21, 2012. (JTX-0003-0001.) All prior art described
         above with respect to the ’866 and ’843 patents is also prior art to the claims
         of the ’539 patent.

         DFF155.      Admitted.

         Defendants Finding No. 156. International Patent Publication WO
         2008/0011194 A2 (“Vasisht I”) (DTX-017) published on January 24, 2008
         and is prior art to the ’539 patent. (D.I. 249 at 3; DTX-017-0001; Tr. 205:4-
         11.)

         DFF156.      Admitted.

         Defendants Finding No. 157. Vasisht I is the publication of PCT
         Application PCT/US2007/016634, which is the PCT parent application to,
         and has the same specification as, the ’866 and ’843 patents. (DTX-017-
         0001, Tr. 292:19-25, 293:8-10; 371:4-9.)

         DFF157.      Admitted.

         Defendants Finding No. 158. Vasisht I discloses BEMA devices and
         methods for the direct transmucosal administration of buprenorphine to
         provide enhanced uptake of buprenorphine. (D.I. 249 at 3; DTX-017 at


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         [0004], [0010], [0011], [0024], [0037], [0041], [0045]; Tr. 211:23-212:16;
         241:13-20.)

         DFF158.      Admitted.

         Defendants Finding No. 159. Vasisht I discloses that the use of the
         buprenorphine-containing devices are effective to treat “any pain known in
         the art, caused by any disease, disorder, condition, and/or circumstance.”
         (DTX-017-0013-0014 at [0045]; Tr. 214:24-215:14.)

         DFF159.      Denied.     Vasisht I actually states: “The pain can be any pain

   known in the art, caused by any disease, disorder, condition and/or circumstance.”

   DTX-017, ¶ 45.

         Defendants Finding No. 160. Vasisht I discloses examples of pain,
         including moderate to severe pain, chronic pain, or lower back pain, for
         which treatment with the buprenorphine-containing devices is effective.
         (DTX-017 at [0011], [0029], [0041], [0045]; Tr. 211:23-212:16, 212:17-24,
         213:18-22, 214:24-215:25.)

         DFF160.      Denied. The only mention of back pain discussed in Vasisht-I

   is that: “breakthrough pain also occurs in patients with lower back pain.” DTX-

   017, ¶29. “Breakthrough pain” is not chronic pain. Id.

         Defendants Finding No. 161. Vasisht I discloses that the devices may be
         administered “at dosages and for periods of time effective for treatment of a
         subject” and in “[d]osage regimens . . . adjusted to provide the optimum
         therapeutic response.” (DTX-017-0011 at [0036]; Tr. 212:17-24.)

         DFF161.      Admitted.

         Defendants Finding No. 162. Vasisht I discloses that “several divided
         doses may be administered daily or the dose may be proportionally reduced
         as indicated by the exigencies of the therapeutic situation.” (DTX-017-0011
         at [0036]; Tr. 212:17-24.)

         DFF162.      Admitted.

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         Defendants Finding No. 163. Vasisht I discloses that a transmucosal drug
         delivery device containing buprenorphine may be administered at dosages
         and for periods of time effective for treatment of a subject. (D.I. 249 at 4;
         DTX-017-0011 at [0036]; Tr. 212:17-24.)

         DFF163.      Admitted.

         Defendants Finding No. 164. Vasisht I teaches that the device containing
         buprenorphine provides a therapeutically effective total daily dose of
         buprenorphine such that pain, including chronic pain, is treated and/or
         alleviated. (DTX-017 at [0011], [0036], [0041], [0045]; Tr. 211:23-212:24,
         213:18-22, 214:24-215:25.)

         DFF164.      Denied. The cited portions of Vasisht I do not describe “a

   therapeutically effective total daily dose of buprenorphine.”

         Defendants Finding No. 165. Vasisht I discloses a bioerodable
         mucoadhesive layer including an effective amount of buprenorphine in a
         polymeric diffusion environment. (DTX-017 at [0012], [0019], [0024],
         [0048], [0049], [0052], [0060], [0072], [0100], [0120]; Tr. 212:25-213:9.)

         DFF165.      Admitted.

         Defendants Finding No. 166. Vasisht I discloses a BEMA device
         containing buprenorphine that includes a polymeric diffusion environment
         buffered to a pH of between about 4 and about 6, including between about
         4.5 and about 5. (D.I. 249 at 3; DTX-017 at [0012], [0016], [0019], [0024],
         [0048], [0049], [0052], [0060], [0072], [0100], [0120], [0121]; Tr. 212:25-
         213:9, 240:13-19, 241:23-242:12.)

         DFF166.      Admitted.

         Defendants Finding No. 167. Vasisht I discloses that a BEMA device
         including buprenorphine may include buprenorphine in an amount from
         about 25, 50, 75, 100, 150, 200, 300, 400, 500, 600, 700, 900, 1000, 1200,
         1500, 1600, or 2000 mcg.6 (D.I. 249 at 4; DTX-017-0015-0016 at [0052];
         Tr. 212:25-213:9; 373:18-374:10.) n.6: Microgram, or “mcg,” is used
         interchangeably herein and in the prior art as “μg.” One milligram (“mg”)
         equals 1000 μg.


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         DFF167.      Admitted.

         Defendants Finding No. 168. Vasisht I further discloses that
         buprenorphine Cmax is dose proportional such that Cmax varies linearly
         with the dose administered. (DTX-017-0017-0018 at [0057]; Tr. 216:1-
         216:18, 325:25-326:10; 373:10-374:21.)

         DFF168.      Denied. Vasisht I discloses that for its transmucosal delivery

   devices Cmax increases in a manner proportional to dose. DTX-017, ¶57.

         Defendants Finding No. 169. Vasisht I discloses a BEMA device that
         includes a backing layer that provides a unidirectional gradient on
         application to a mucosal surface, for rapid and efficient delivery of
         buprenorphine. (D.I. 249 at 3; DTX-017 at [0010]-[0013], [0018]-[0019],
         [0024], [0034], [0040], [0047], [0073], [0077], [0099]; Tr. 239:21-240:12,
         242:13-243:4.)

         DFF169.      Admitted.

               PFF94. Vasisht I does not teach any pH values for any backing or

               barrier layer. (Tr. 279:10-12.)

         Defendants Finding No. 170. Vasisht I describes a method of preparing a
         buffered backing layer for the claimed devices, including a recitation of the
         components of the backing layer used, and the wet weight percentages of
         each ingredient. (DTX-017 at [0014], Example 1, [0099]; Tr. 206:3-11.) The
         components listed do not include an opioid antagonist.

         DFF170.      Denied. Defendants’ reference to the “claimed device” in the

   proposed finding is ambiguous. Vasisht-I is not an issued patent.

         Defendants Finding No. 171. Vasisht I discloses a backing layer
         formulation that includes the following components by weight percent
         converted to dry basis: sodium benzoate (0.5 wt.%), methylparaben (0.5
         wt.%), propylparaben (0.1 wt.%), citric acid (0.5 wt.%), vitamin E acetate
         (0.05 wt.%), sodium saccharin (0.5 wt.%), hydroxypropyl cellulose (63
         wt.%), hydroxyethyl cellulose (32%), titanium dioxide (2.7%), peppermint

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          oil (0.9 wt.%). (DTX-017-0028-0030 at Example 1, [0099]; Tr. 206:5-
          207:23, 209:20-210:3, 213:10-17; DDX4.31.)

          DFF171.       Denied. Dr. Michniak-Kohn rounded certain values for the

   backing layer of Example 1 of Vasisht-I, which masked the differences between

   the backing layer described in Vasisht-I, the backing layer for BELBUCA, and

   Example 1 of the ’539. (Tr.283:8-15); DTX-017, Example 1; JTX-003-col.10:9-

   27; DTX-0019-0045. The correct calculations, as shown below, demonstrate the

   differences in the components of the backing layer formulation, including for

   propylparaben where there is a 50% difference between backing layer of Vasisht-I

   and BELBUCA. See below comparing DTX-0017, ¶99 and DTX-0019-0045.




    Component               Backing layer of        Backing layer of        Percent difference
                            Vasisht I, dry          BELBUCA, dry
                            formulation % weight,   formulation % weight,
                            not rounded to one      not rounded to one
                            decimal point           decimal point
    Sodium benzoate         .450                    .495                    10%

    Methylparaben           .450                    .449                    0.2%

    Propylparaben           .135                    .090                    50%

    Citric Acid             .450                    .495                    10%

    Vitamin E Acetate       .045                    .045                    (no difference)

    Saccharin Sodium        .450                    .495                    10%

    Hydroxypropyl           63.063                  63.154                  0.1%
    Cellulose



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    Hydroxyethyl Cellulose   31.532               31.543               0.03%

    Titanium Dioxide         2.703                2.471                9%

    Peppermint Oil           .901                 0.764                17.9%



         Defendants Finding No. 172. Vasisht I discloses that the subject treated
         may be “opioid tolerant” and/or to treat subjects “already on chronic opioid
         therapy.” (DTX-017-0013-0014 at [0043], [0045]; Tr. 214:4-8.)

         DFF172.       Admitted.

         Defendants Finding No. 173. Vasisht I discloses that the subject treated is
         “opioid-experienced,” as this Court construes the term. (DTX-017-0013-
         0014 at [0043], [0045]; Tr. 214:4-8; D.I. 114.)

         DFF173.       Denied. The cited portions of Vasisht I disclose treatment of

   “relief for breakthrough cancer pain (BTP) in opioid tolerant patients with cancer”

   and breakthrough cancer pain in a subject “already on chronic opioid therapy.”

   DTX-017, ¶¶43, 45.

         Defendants Finding No. 174. Vasisht I discloses that the transmucosal
         drug delivery device containing buprenorphine can be administered to
         opioid-experienced subjects currently receiving opioid therapy. (DTX-017-
         0013-0014 at [0043], [0045]; Tr. 214:4-8.)

         DFF174.       Denied. See Resp. DFF173.

         Defendants Finding No. 175. Vasisht I discloses that any side effects
         experienced by subjects treated with the devices are “mild or moderate in
         nature.” (DTX-017-0036 at [0118]; Tr. 204:13-19, 214:9-19, 371:10-373:9,
         399:16-400:8, 399:20-400:8.)




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         DFF175.      Denied. The paragraph relied on by Defendants, paragraph 118

   of DTX-0017, describes the side effects for a fentanyl device of Example 2 as

   being “mild or moderate” in nature.

         Defendants Finding No. 176. Vasisht I discloses that subjects treated with
         the devices experience “little or no constipation.” (DTX-017-0017 at [0055];
         Tr. 214:8-19; 371:10-373:9; 400:9-401:12.)

         DFF176.      Admitted. Vashist I, however, does not describe any

   percentages of subjects with “little or no constipation.”

         Defendants Finding No. 177. U.S. Patent No. 6,231,886 (“Reder”) (DTX-
         078) published on May 15, 2001 and is prior art to the ’539 patent. (DTX-
         078-1; Tr. 216:19-21.)

         DFF177.      Admitted.

         Defendants Finding No. 178. Reder is directed to buprenorphine drug
         delivery devices “which allow[] for reduced plasma concentrations of
         buprenorphine over a prolonged time period than possible according to prior
         art methods, while still providing effective pain management.” (DTX-078-
         0008 at 2:63-67; Tr. 222:22-223:13, 374:22-375:11.)

         DFF178.      Denied. Reder teaches a method which allows for reduced

   plasma concentrations of buprenorphine over a more prolonged period than

   possible according to prior art methods, while still providing effective pain

   management. (Tr.286:19-24, 375:1-11; 429:14-20); DTX-078-0008, col.2:63-65.

                PFF95. Reder teaches a POSA to maintain a relatively flat

                concentration of buprenorphine for a long period of time, which is

                defined by a decrease of no more than 30% over a 48-hour period.

                (Tr.431:22-433:20, 831:7-831:21); DTX-078-0010, col.6:39-45.
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               PFF96. Reder teaches that the preferred mode of administration to

               better control plasma concentrations of buprenorphine is through a

               transdermal delivery system or a continuous intravenous infusion,

               which provide a flatter continuous profile in terms of the plasma

               concentration. (Tr.287:4-12, 424:18-425:5, 423:19-23, 830:5-

               830:19); DTX-078-0009, col.3:60-65.

               PFF97. A POSA would understand that Reder teaches the use of

               sustained release formulations to obtain the desired “flat” plasma

               concentrations for the extended period of time of over 12 hours.

               (Tr.435:13-18, 831:22-832:9.)

               PFF98. In contrast, Vasisht-I describes an immediate release delivery

               system where buprenorphine is delivered in less than 30 minutes. The

               plasma buprenorphine concentration following the administration of

               its devices decreases more than 30-50% percent from a peak plasma

               buprenorphine concentration within a period of 12 hours. (Tr.833:2-

               834:8, 434:6-16, 435:21-436:6); DTX-017, ¶11, Fig. 3.

               PFF99. A POSA would understand that immediate release drug

               delivery devices are not well suited for use in a method that requires a

               relatively constant plasma concentration which does not decrease




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               more than about 30 percent over a 48-hour time period. (Tr.832:10-

               22, 434:1-3, 435:1-7.)

               PFF100. A POSA would know the teaching of Reder would not

               apply to an immediate delivery system, such as Vasisht-I. (Tr.435:1-

               18, 832:10-22.)

               PFF101. Further, Reder does not teach that a buprenorphine Cmax of

               0.185 ng/mL effectively treats pain as required by Claim 9 because

               Reder does not measure analgesia. (Tr.425:16-427:22, 831:5-6.)

         Defendants Finding No. 179. Reder discloses a mean Cmax of 184.89
         pg/mL (equivalent to 0.185 ng/mL) following administration of a
         transdermal device including buprenorphine that was effective to treat pain
         in that subject. (DTX-078-0020 at Table 2; Tr. 223:14-22, 375:1-376:2.)

         DFF179.      Denied. Reder describes a transdermal patch that provides a

   mean buprenorphine Cmax of 0.185 ng/mL. DTX-078-0020, Table 2. However,

   Reder does not teach that a buprenorphine Cmax of 0.185 ng/mL effectively treats

   pain because Reder does not measure analgesia. (Tr.425:16-427:22, 831:5-6.)

         Defendants Finding No. 180. Reder’s reported mean Cmax of 0.185
         ng/mL is within the claimed range of “about 0.156 ng/mL to about 0.364
         ng/mL.” (JTX-0003 at Claim 9; DTX-078-0020 at Table 2; Tr. 395:25-
         396:21.)

         DFF180.      Denied. Reder’s Cmax teachings are inapplicable to the ’539

   patent claims. See PFF95-101.




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         Defendants Finding No. 181. Reder discloses, “[a]ny mode of
         [administration] may be utilized” to obtain the desired plasma concentrations
         of buprenorphine. (DTX-078 at 3:56-59; Tr. 223:23-224:4, 224:13-20.)

         DFF181.      A POSA reading Reder would not understand to use any mode

   of administration to obtain the desired plasma concentrations, or Cmax, over a 72-

   hour period. See Resp. DFF179. Instead, Reder teaches a POSA to use a

   transdermal system or continuous infusion. See PFF91-101.

         Defendants Finding No. 182. Reder discloses, “[f]or example, the
         buprenorphine may be administered transdermally, parenterally,
         sublingually, orally, buccally, rectally, etc.” (DTX-078-0009 at 3:56-59; Tr.
         223:23-224:4, 224:13-20.)

         DFF182.      Denied. See Responses to DFF181.

         Defendants Finding No. 183. Bullingham I published in 1981 and is prior
         art to the ’539 patent. (DTX-077-0001, Tr. 88:18-89:13.) The discussion of
         Bullingham I set forth in Section III.A.2.(b) supra is incorporated by
         reference herein.

         DFF183.      Admitted. Plaintiffs incorporate their responses to DFF41-45

   and PFF37-45.

         Defendants Finding No. 184. Bullingham I is a peer-reviewed study
         involving the administration of buprenorphine sublingual tablets at a total
         dose of 400 mcg. (DTX-077-0001-0002; Tr. 332:10-333:10.)

         DFF184.      Admitted.

         Defendants Finding No. 185. Bullingham I describes the pharmacokinetic
         and pharmacodynamic results of the administration of sublingual
         buprenorphine tablets. (DTX-077-0001; Tr. 88:18-89:13, 332:23-333:14.)
         The sublingual dose was preceded by administration of 300 mcg of
         intravenous buprenorphine. (DTX-077-0001-0002; Tr. 332:23-333:14.) The
         contribution of the intravenous dose to measured concentrations of


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           buprenorphine in the blood was removed from the results by “stripping.”
           (DTX-077-0002; Tr. 333:15-334:7.)

           DFF185.     Denied. See PFFs 37-45.

           Defendants Finding No. 186. Bullingham I teaches that the Cmax
           resulting from administration of 400-mcg of sublingual buprenorphine was
           0.74 +/- 0.16 ng/mL. (DTX-077-0003 at Table 2; Tr. 397:9-23.)

           DFF186.     Denied. A POSA would not view the Cmax value disclosed in

   Bullingham I as a reliable indicator of the expected Cmax following sublingual

   administration of buprenorphine tablets. See PFFs 37-45.

           Defendants Finding No. 187. Bullingham II published in 1982 and is prior
           art to the ’539 patent. (DTX-177-0001; Tr. 341:5-342:5, 397:9-23.)

           DFF187.     Admitted.

           Defendants Finding No. 188. Bullingham II presents the results of a
           nearly identical, larger study of the same design as Bullingham I in 15
           patients and included sublingual buprenorphine tablet doses of 400 mcg and
           800 mcg. (DTX-177-0001; Tr. 341:5-342:5.) As was done in Bullingham I,
           the concentrations from the IV dose were subtracted from the analysis, and
           Bullingham II reports the concentrations from the second, sublingual dose.
           (Tr. 342:6-12.)

           DFF188.     Denied. See PFF42-42.2.

           Defendants Finding No. 189. Bullingham II discloses a Cmax of 0.5 +/-
           0.06 ng/mL for a 400-mcg dose of sublingual buprenorphine, and 1.04 +/-
           0.27 ng/mL for a dose of 800-mcg. (DTX-177-0001, -0008 at Table 7; Tr.
           397:9-23.)

           DFF189.     Denied. A POSA would have view the “stripped” plasma

   buprenorphine concentrations reported Bullingham II as reliable. See PFFs 42-

   42.2.


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         Defendants Finding No. 190. Temgesic® published on May 9, 2008 and is
         prior art the ’539 patent. (DTX-170-0007; Tr. 401:13-402:12.) Temgesic®
         has been available since the early 1980s and was the sublingual
         buprenorphine tablet product used in the studies of Bullingham I and
         Bullingham II. (Tr. 397:9-17, 401:16-23.)

         DFF190.      Denied. The cited testimony states that DTX-170 purports to

   be “the Australian package insert” of Temgesic®, and there is nothing in the

   document stating that it was published on May 9, 2008. Bullingham-I does not

   state that the studies described therein used Temgesic. DTX-0170.

         Defendants Finding No. 191. Temgesic® describes sublingual tablets
         containing 216-mcg buprenorphine. (DTX-170-0001.)

         DFF191.      Admitted.

         Defendants Finding No. 192. Temgesic® is a “[s]trong analgesic”
         indicated for the treatment of pain. (DTX-170-0003.)

         DFF192.      Denied. Temgesic® is not indicated for the treatment of

   chronic pain but rather is indicated for the “short term (not more than one week)

   relief of . . . pain.” DTX-170-0003.

         Defendants Finding No. 193. Temgesic® discloses that “less than 1% of
         patients” treated with Temgesic® experienced constipation as an “[a]dverse
         reaction[].” (DTX-170-0005; Tr. 401:13-402:12.)

         DFF193.      Denied. There is nothing in the label that shows this

   information only pertains to the sublingual tablets. The label also includes

   information about the injectable formulation which bypasses first pass metabolism.

   DTX-170-0001.



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         Defendants Finding No. 194. Vasisht I discloses a method of treating
         moderate to severe chronic low back pain (as required by claim 9), and a
         method of treating chronic pain (as required by claim 20). (JTX-0003-0015-
         0016 at Claims 9, 1; DTX-017 at [0004], [0010], [0011], [0024], [0029],
         [0037], [0041], [0045]; Tr. 211:23-212:24, 213:18-22, 214:24-215:25,
         241:13-20.)

         DFF194.     Denied. See Resp. DFF160.

         Defendants Finding No. 195. Vasisht I teaches the “once or twice daily”
         administration of “a mucoadhesive bioerodable drug delivery device to the
         oral mucosal surface of the subject” “in need thereof.” (JTX-0003-0015-
         0016 at Claims 9, 1; DTX-017 at [0010], [0036]; Tr. 212:17-24.)

         DFF195.     Denied. The cited portions of Vasisht-I do not disclose “once

   or twice daily” administration.” DTX-017-0036.

         Defendants Finding No. 196. Vasisht I teaches a device comprising “a
         bioerodable mucoadhesive layer comprising an effective amount of
         buprenorphine disposed in a buffered polymeric diffusion environment,
         wherein the polymeric diffusion environment is a buffered environment
         having a pH of between about 4 and about 6.” (JTX-0003 at Claims 9, 20;
         DTX-017 at [0024], [0052], [0072], [0019], [0048], [0049], [0012], [0060],
         [0064], [0100], [0120]; Tr. 212:25-213:9.) Vasisht I teaches that the amount
         of buprenorphine included in the bioerodable mucoadhesive layer may be
         between “about 100 [mcg] and about 0.9 mg.” (JTX-0003-0015 at Claim 1;
         DTX-017-0017-0018 at [0057]; Tr. 216:1-17, 373:10-374:21.)

         DFF196.     Denied. The cited portion of Vasisht I does not state that “the

   amount of buprenorphine included in the bioerodable mucoadhesive layer may be

   between ‘about 100 mcg and about 0.9 mg.’”

         Defendants Finding No. 197. Vasisht I teaches administration of a “total
         daily dose of buprenorphine” that “is effective for treating moderate to
         severe chronic low back pain.” (JTX-0003-0015-0016 at Claim 9; DTX-017
         at [0036], [0011], [0041], [0045]; Tr. 211:23-212:24, 213:18-22, 214:24-
         215:25.)

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         DFF197.       Denied. See Resp. DFF160.

         Defendants Finding No. 198. Vasisht I teaches a method “wherein the
         subject is an opioid-experienced subject.” (JTX-0003-0015-0016 at Claim 9,
         Claim 20; DTX-017 at [0043], [0045]; Tr. 214:4-18; D.I. 114.)

         DFF198.       Denied. See Resp. DFF173.

         Defendants Finding No. 199. Vasisht I teaches a method “wherein the
         subject treated experiences mild or moderate common opioid adverse
         effects, or no common opioid adverse effects.” (JTX-0003-0015-0016 at
         Claim 9, Claim 20; DTX-017 at [0055], [0118]; Tr. 204:13-19, 214:9-19,
         371:10-373:9, 399:20-400:8.)

         DFF199.       Denied. See DFF175.

         Defendants Finding No. 200. Claims 9 and 20 further require that the
         backing layer is buffered to a pH between about 4.0 and about 4.8 and does
         not include an opioid antagonist. JTX-003-0015-0016 at Claim 9, Claim 20.
         Vasisht I discloses a method of preparing a backing layer for the claimed
         devices, including a recitation of the components of the backing layer used,
         and the wet weight percentages of each ingredient. (DTX-017 at [0014],
         Example 1, [0099]; Tr. 206:3-207:23, 209:20-210:3, 213:10-17; DDX4.31.)

         DFF200.       Denied. Vasisht-I describes an example of a backing layer

   formulation but not “for the claimed devices,” and this phrase is vague in the

   context of this finding.

         Defendants Finding No. 201. Example 1 of the ’539 patent recites a
         method of preparing a backing layer for the devices to be used in the
         claimed method, including a recitation of the components of the backing
         layer used, and a dry weight percentage of each ingredient. (JTX-003-0012
         at Example 1, 10:9-27; Tr. 206:12-207:23.) The listed ingredients for the
         backing layer formulations in Vasisht I and Example 1 of the ’539 patent are
         the same. (JTX-003-0012 at Example 1, 10:9-27; DTX-017-0028-0030 at
         Example 1, [0099]; Tr. 206:3-207:23; DDX4.31.)

         DFF201.       Denied. See PFF171.


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         Defendants Finding No. 202. The weight percentages of the ingredients in
         the example backing layer of Vasisht I and the backing layer disclosed in the
         ’539 patent are materially identical for most components. (Tr. 206:12-
         207:23; DDX4.31.) While the two formulations slightly differ with respect
         to the proportions of peppermint oil and titanium dioxide, a POSA would
         have known that peppermint oil (flavoring agent) and titanium dioxide
         (coloring agent), as ingredients in the backing layer formulation, would not
         affect the pH of the layer. (See DTX-019-0023; Tr. 207:6-16; DDX4.31.)

         DFF202.      Denied. See PFF171.

         Defendants Finding No. 203. A POSA would have known that the pH of
         the backing layer disclosed in Vasisht I would have inherently been the same
         as that disclosed in Example 1 of the ’539 patent. (Tr. 206:12-207:23 at
         207:17-23.)

         DFF203.      Denied. See PFF171.

         Defendants Finding No. 204. BELBUCA includes a backing layer having
         a pH of 4.5. (Tr. 207:17-23, 574:13-576:25 at 574:13-21, 575:24-576:8,
         576:16-576:25.) This pH data was obtained from the same backing layer
         formulation as that reported to the FDA as part of the BELBUCA NDA. (Tr.
         573:10-574:5.)

         DFF204.      Denied. The pH of the backing layer of BELBUCA “stayed

   within the range of 4.5 to 4.7.” (Tr.576:13-25.)

         Defendants Finding No. 205. According to BDSI’s internal documents,
         the backing layer composition for the commercial formulations of
         BELBUCA, referred to as F14 and F24, are identical in components and
         proportions to the backing layer disclosed in the ’539 patent. (JTX-003-0012
         at Example 1; see DTX-019-0041, -0044, and -0045 (Table 21) (describing
         the backing layer for the final formulations of BELBUCA, F14 and F24); Tr.
         206:12-209:17; DDX4.31.)

         DFF205.      Denied. The numbers for the components and proportions of

   the backing layer in the specification of the ’539 patent JTX-0003, col.10:9-27 are



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   not identical to the numbers for the components and proportions of the backing

   layer for BELBUCA, as described in DTX-019-0045, Table 21.

         Defendants Finding No. 206. The backing layer composition for the
         commercial formulations of BELBUCA are therefore materially identical to
         the backing layer composition disclosed in Vasisht I. (DTX-017 at Example
         1; DTX-019-0045 at Table 21; Tr. 206:12-209:17.)

         DFF206.      Denied. See PFF171.

         Defendants Finding No. 207. A POSA would have known that the
         backing layer disclosed by Vasisht I has the same pH (4.5) as does the
         backing layer described in the ’539 patent and included in BELBUCA. (Tr.
         207:17-23, 209:10-210:3.) A pH of 4.5 is within the claimed range of “about
         4.0 to about 4.8.” (Tr. 209:10-210:3.)

         DFF207.      Denied. See PFF171.

         Defendants Finding No. 208. During prosecution of the ’539 patent, the
         PTO repeatedly rejected the claims over Vasisht I. (JTX-0006-0075-0081,
         JTX-0006-0157-0167, JTX-0006-0193-0204, JTX-0006-0233-0256, JTX-
         0006-3790-3806, JTX-0006-4043-4063, JTX-0006-4116-4132.) Following
         one such rejection, Dr. Vasisht submitted a declaration stating, “we did
         recently remake the backer formulation” described in Vasisht I, and
         purportedly measured the pH of that formulation to be, on average, 5.61.
         (JTX-0006-4100-4102 at JTX-006-4101; Tr. 210:8-211:6.) The
         measurements Dr. Vasisht reported cannot have been accurate in view of the
         similarities between the backing layer formulation of Vasisht I and that of
         the ’539 patent and BELBUCA. (JTX-0006-4101, Tr. 210:4-211:22.)

         DFF208.      Denied. See PFF171.

         Defendants Finding No. 209. A POSA would have been motivated to
         incorporate the backing layer described by Vasisht I into a device including
         buprenorphine in the mucoadhesive layer instead of fentanyl, which is
         recited in Vasisht I. (DTX-017-0029 at [0099].) Vasisht I recites an example
         of such a preparation, stating that “[d]evices containing buprenorphine were
         also produced using the same method as described in Example 1, except that
         buprenorphine was added to the mucoadhesive polymeric diffusion
         environment instead of fentanyl citrate.” (DTX-017-0037 at Example 3,
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         [0120].) Vasisht I thus provides explicit teaching that buprenorphine and
         fentanyl are interchangeable for treating pain in the methods described.

         DFF209.      Denied. Dr. Vasisht (an inventor) testified that buprenorphine

   and Fentanyl do not behave the same way in the devices described in Vasisht-I.

   (Tr.754:21-756:2.) Fentanyl was a known Schedule-II drug, and buprenorphine

   was a known schedule III drug. Further, the cited portions of Vasisht-I do not

   provide “explicit teaching that buprenorphine and fentanyl are interchangeable for

   treating pain in the methods described.”

         Defendants Finding No. 210. Claim 20 requires that “between about
         1.5%-8.5% of subjects treated experience constipation as a [treatment
         emergent adverse event] TEAE”. (JTX-0003 at Claim 20; Tr. 400:9-17.)
         This limitation was added during prosecution (see JTX-0006-0217), but was
         never relied-upon in any subsequent argument by the applicants as
         patentable independent of claim 1. (JTX-0006-2319-2322; JTX-0006-3836-
         3844; JTX-0006-4091-4099; JTX-0006-4141-4149).

         DFF210.      Admitted.

         Defendants Finding No. 211. The prior art Vasisht I and Temgesic® teach
         that low incidences of constipation were known to be associated with
         transmucosal administration of buprenorphine. (DTX-017-0017 at [0055]
         (treatment the device of the present invention causes “little or no
         constipation”); Tr. 214:8-19, 371:10-373:9, 400:9-401:2 at 400:18-23; DTX-
         170-0005 (transmucosal, sublingual administration of buprenorphine results
         in “less than 1%” of subjects experiencing constipation); Tr. 401:13-402:12.)

         DFF211.      Denied. See Resp. DFF190, 192-93, 176.

         Defendants Finding No. 212. A POSA would further have expected that
         5-10 percent of patients on chronic opioid therapy experience constipation as
         a side effect, which overlaps with the claimed range. (Tr. 401:3-13.) A
         POSA would also have understood that side effects like constipation are the
         result of buprenorphine and the dosage amount, and not the drug delivery
         system. (Tr. 501:25-503:13 at 503:6-13.)
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         DFF212.      Denied. Dr. Shafer is an anesthesiologist and is not an expert in

   pain management. (Tr.446:24-447:12.) Further “the old MU agonists have had a

   minimum 40 percent and, again, some surveys up to 80 percent incidence of

   constipation.” (Tr.881:13-17.) Further, due to the devices of the claimed

   invention, less buprenorphine can be used which results in less side effects.

         Defendants Finding No. 213. Asserted claim 20 also requires that the
         device provides, “a steady-state Cmax of plasma buprenorphine in a range
         between about 0.156 and about 0.364 ng/mL.”7 (JTX-0003-0015 at Claim 1;
         Tr. 213:23-214:3, 373:10-17.) n.7: A “nanogram” or “ng” is one billionth of
         a gram and a “milliliter” (“mL”) is one thousandth of a liter.

         DFF213.      Admitted.

         Defendants Finding No. 214. Cmax is a pharmacokinetic parameter that
         refers to “the maximum plasma concentration of a drug following
         administration.” (Tr. 325:7-11.) “Cmax depends on the drug, on the device,
         and on the dose.” (Tr. 325:16-19.) Steady-state Cmax refers to the Cmax
         observed when repeated doses of the drug are administered, and thus further
         “depends on the dosing interval.” (Tr. 326:22-327:11.) Steady-state Cmax is
         a pharmacokinetic parameter that depends on a given dose, in a given
         device, over a given dosing interval. (Tr. 326:22-327:11.)

         DFF214.      Denied. The trial testimony does not substantiate this finding.

         Defendants Finding No. 215. A POSA would have been motivated to use
         the method and device taught by Vasisht I to achieve a steady-state Cmax in
         the claimed range as taught by Reder with a reasonable expectation of
         success. (Tr. 224:13-20, 375:12-376:2, 395:25-397:8 at 396:14-17.) Vasisht
         I discloses buprenorphine, the claimed BEMA device, the claimed dosage
         range, the dosing interval, and the dose proportionality of buprenorphine.
         Section IV.A.1 supra. Reder teaches a buprenorphine Cmax of 0.185 ng/mL,
         squarely within the claimed range, that is associated with effective pain
         management. (DTX-078-0020 at Table 2; Tr. 223:14-22, 375:12-376:10,
         395:25-397:8.) A POSA in view of Reder would have understood that a
         concentration 0.185 ng/mL would provide effective pain relief. (Tr. 375:21-

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         376:2, 396:18-21.) A POSA would have understood, in view of Reder’s
         disclosure that the transdermal device releases buprenorphine over several
         days, that the Cmax of 0.185 ng/mL in Table 2 would be a steady-state
         value. (DTX-078-0019-0020 at Example 1 (24:46-49, 26:10-19); Tr. 375:12-
         376:2, 395:25-397:8.)

         DFF215.      Denied. PFF95-101.

         Defendants Finding No. 216. Vasisht I discloses a wide range of
         buprenorphine doses spanning about two orders of magnitude from 25 mcg
         to 2000 mcg. (DTX-017 at [0052], Tr. 374:2-10). Some of these doses are
         too high to achieve a Cmax within the claimed two-fold range of Cmax
         values. (Tr. 373:18-374:22.)

         DFF216.      Denied. The trial testimony does not substantiate the proposed

   assertion.

         Defendants Finding No. 217. A POSA would understand Vasisht I’s drug
         delivery device could be configured to provide the steady-state Cmax taught
         by Reder in order to effectively treat chronic pain. (Tr. 395:25-397:1.)

         DFF217.      Denied. PFF95-101.

         Defendants Finding No. 218. A POSA would have understood that both
         Vasisht I and Reder taught that buprenorphine may be effectively
         administered to treat or manage pain. (DTX-017-0013-0014 at [0045]; Tr.
         214:24-215:14; DTX-078-0008 at 2:63-67; Tr. 222:22-223:13, 374:22-
         375:11.)

         DFF218.      Denied. Reder and Vasisht-I teach different methods. Vasisht

   teaches an immediate release system, and Reder teaches an extended-release

   system. See PFF95-101.

         Defendants Finding No. 219. A POSA would have understood that the
         critical disclosure in Reder is a buprenorphine Cmax within the claimed
         range that is effective to treat pain, not the particular route of administration.
         (Tr. 375:21-376:10, 377:23-378:20.)


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         DFF219.      Denied. See PFF95-101. Dr. Shafer admits a POSA would

   understand that for buprenorphine, Cmax and the relation of Cmax to dose differ

   between mucoadhesive delivery devices and transdermal delivery systems.

   Tr.424:4-11.

         Defendants Finding No. 220. A POSA further would have understood that
         Reder’s disclosure is not restricted to transdermal delivery devices, and
         provides guidance relevant to transmucosal devices, for example, as taught
         by Vasisht I. (DTX-078-0009 at 3:56-59, Tr. 223:23-224:6; 224:13-20.)
         Reder explicitly discloses that “[a]ny mode of [administration] may be
         utilized,” including “buccal[]” administration. (DTX-078-0009 at 3:56-59,
         Tr. 223:23-224:6; 224:13-20.)

         DFF220.      Denied. See PFF95-101.

         Defendants Finding No. 221. A POSA would have understood that the
         delivery mechanism itself is not relevant to whether the resulting blood
         concentrations are associated with effective pain relief. (Tr. 376:3-10,
         376:25-377:2, 377:8-15, 377:22-379:8.)

         DFF221.      Denied. See PFF95-101.

         Defendants Finding No. 222. A POSA further would have understood that
         Reder’s disclosure is not restricted to transdermal devices, and provides
         guidance relevant to transmucosal devices, for example, as taught by Vasisht
         I. Reder explicitly discloses that “[a]ny mode of [administration] may be
         utilized,” including “buccal[]” administration. (DTX-078-0009 at 3:56-59;
         Tr. 223:23-224:6; 224:13-20.)

         DFF222.      Denied. See PFF95-101.

         Defendants Finding No. 223. A POSA would have been motivated, with a
         reasonable expectation of success, to select doses of buprenorphine, as
         taught by Vasisht I, for use in the device of Vasisht I to provide a Cmax
         within the claimed range, as taught by Reder. (DTX-017 at [0052], [0057];
         DTX-078-0020 at Table 2; Tr. 373:10-375:2, 395:25-397:1.)

         DFF223.      Denied. See PFF95-101.
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         Defendants Finding No. 224. As discussed above, Bullingham I and
         Bullingham II recite the Cmax resulting from transmucosal administration of
         buprenorphine at 400-mcg and 800-mcg dosages. (DTX-077-001; DTX-177-
         001; Tr. 397:9-23.) Although the Cmax values disclosed in Bullingham I and
         Bullingham II are higher than those in the claimed range, a POSA would
         have used those values to calculate a mean buprenorphine Cmax/mcg of
         0.0015 ng/mL. (Tr. 397:18-396:9, DDX3.66.)

         DFF224.     Denied. A POSA would not view the Cmax values disclosed in

   Bullingham I and Bullingham II for sublingual administration as reliable. See

   PFF37-45. A POSA would not have been motivated or reasonably expected to

   successfully achieve a steady state Cmax in the range between about 0.156 ng/mL

   and 0.364 ng/mL. Tr.834:17-836:15. A POSA would have understood that the

   Cmax levels disclosed in Bullingham I and Bullingham II are above the claimed

   steady-state Cmax range.

               PFF102. Bullingham II, Table 7, shows an average Cmax for the 400

               mcg dose of approximately 0.5 ng/mL and an average Cmax for the

               800 mcg dose of approximately 1 ng/mL, and a POSA would have

               expected that at steady state, the Cmax levels would increase.

               Tr.835:14-836:6; DTX 177-0008.

         Defendants Finding No. 225. A POSA would have selected a dose from
         those recited in Vasisht I that would produce the desired Cmax, i.e., within
         the claimed range. (Tr. 397:24-399:14.) For example, using the per-
         microgram Cmax calculated above, a dose of 200-mcg, as recited in Vasisht
         I, would produce a Cmax of about 0.29 ng/mL. (Tr. 398:10-399:9.)

         DFF225.     Denied. See Resp. DFFs 224; PFF102.


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         Defendants Finding No. 226. A POSA would have understood that a
         Cmax calculated based on Bullingham’s values would not have been
         consequentially different from a steady-state Cmax. (Tr. 399:6-15)

         DFF226.      Denied. See Resp. DFF224; PFF95-102.

         Defendants Finding No. 227. BDSI’s expert Dr. Taft testified, “changing”
         or “lower[ing]” the pH of the backing layer resulted in an increase of
         bioavailability, but he nowhere testified what the pH for the backing layer
         should be changed (or lowered) to be in order to obtain such an increase.
         (Tr. 804:2-806:19 at 804:9-804:13, 805:14-18.)

         DFF227.      Denied. See PFF103-104.

         Defendants Finding No. 228. BDSI has not provided any evidence that
         any improved bioavailability is provided by backing layers having a pH
         encompassed by the claims. BDSI relies on data from confidential, non-
         public BDSI and Endo documents that discuss the testing of different
         backing layer formulations (identified as “F1,” “F2,” “M1,” and “M2”) that
         either included or did not include citric acid. (Tr. 804:17-805:7; 805:22-
         806:2). No pH information is provided for any of these tested formulations.

         DFF228.      Denied. See PFF103.

               PFF103. Dr. Taft offered testimony about the pH range of the

               backing layer as claimed by the ’539 patent, between about 4.0 and

               about 4.8. Tr.804:2-13.

               PFF104. Dr. Taft testified that the pH of the backing layer affected

               the uptake of buprenorphine, and that a POSA would not have

               expected such results. Tr.804:10-806:19.

         Defendants Finding No. 229. The prior art, particularly Vasisht I,
         discloses the use of citric acid in the backing layer of the device. (DTX-017-
         0029 at [0099]; Tr. 844:13-845:22.) As discussed above in Section IV.B
         supra, Vasisht I also discloses that the backing layer has substantially the

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         same composition as the example provided by the ’539 patent, and has a pH
         of 4.5, within the claimed range. (Tr. 206:3-210:3.)

         DFF229.      Denied. See Resp. DFF171.

         Defendants Finding No. 230. BDSI provides no comparison of the
         components or properties of the device described in the ’539 patent relative
         to the device described in Vasisht I.

         DFF230.      Denied. See Resp. DFF71.

         Defendants Finding No. 231. Any purported unexpected properties
         provided by the backing layer encompassed by claims 9 and 20 of the ’539
         patent would have also been provided by the backing layer disclosed in
         Vasisht I. (See Tr. 139:15-141:5 (defining and discussing bioavailability);
         206:3-210:3.)

         DFF231.      Denied. See Resp. DFF171. As Dr. Michniak-Kohn testified,

   “if formulations of the compared samples are not the same other than pH, a

   [POSA] cannot draw any conclusion about the impact of pH, in particular, on the

   resulting properties of the samples, like Cmax and bioavailability. Tr.253:22-

   254:16.

         Defendants Finding No. 232. U.S. Patent Publication US2009/0264385
         (“Crowley”), published on October 22, 2009, discloses the use of citric acid
         to lower the pH of the backing layer of a drug delivery device, and further
         discloses that modifying the pH of the backing layer can be used to control
         the behavior of the device. (DTX-179 at [0002], [0134]; Tr. 224:21-226:9.)

         DFF232.      Denied. Crowley teaches modifying the pH of the backing layer

   to “reduce or eliminate that chemical degradation,” and is not relevant to the issues

   here, which concern enhanced uptake. Tr.662:21-664:1, 285:6-11, 284:24-285:5.

         Defendants Finding No. 233. U.S. Patent Publication US2004/0180080
         (“Furusawa”) teaches that the pH of the layers of a disintegrating drug
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         delivery device influence the characteristics of the layers and overall device.
         (DTX-187-0015 at [0099]; Tr. 226:10-227:8.)

         DFF233.      Denied. The cited paragraph in Furusawa discuss the

   characteristics of the pH-adjusting agent, not the layers and overall devices. DTX-

   187-0015, ¶99.

         Defendants Finding No. 234. A POSA would have expected, in view of
         the general prior art, that modification of the pH of the backing layer in the
         claimed drug delivery device, for example, by inclusion of citric acid, would
         be expected to alter the device’s behavior. (Tr. 226:19-228:7, 228:8-229:6.)

         DFF234.      Denied. The issue is enhanced uptake, not the generalized

   behavior of the device. See Resp. DFF 232.

         Defendants Finding No. 235. The asserted claims do not mention
         addiction, abuse or misuse (Tr. 499:15-17); risk of respiratory depression or
         buprenorphine’s ceiling effect (Tr. 501:21-24); the risk of prolongation of
         the QT interval (Tr. 506:5-7); and make no mention of either DEA
         scheduling or ease of prescribing (Tr. 490:20-491:1.)

         DFF235.      Admit that those specific features are not specifically recited in

   the claim but deny that they are required to be incorporated into the claim as

   BELBUCA embodies the asserted claims (D.I. 245, 2), and does has a low risk of

   addiction, abuse, and misuse, low risk of respiratory depression, low risk of QT

   prolongation, and is a schedule III drug. See PFF105-114.

                PFF105. BELBUCA has a low risk of addiction, abuse, and misuse;

                low risk of respiratory depression; low risk of QT prolongation;

                effectively treats chronic pain, and is a schedule III drug. The sales of

                BELBUCA have continued to rise in a market where sales of other
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               opioids have fallen. (Tr.922:5-9, 922:20-25, 540:11-15, 874:24-

               875:12, 880:24-881:12, 884:24-886:13, 887:16-890:23, 896:22-

               898:7.)

               PFF106. As a Schedule III medicine, the DEA has determined that

               BELBUCA is less prone to abuse than the schedule II opioids like

               fentanyl and oxycontin. (Tr.539:4-18, 491:20-492:8, 765:15-24,

               871:9-15.)

               PFF107. Opioid-induced constipation is a serious debilitating

               problem for patients, and there is a whole class of medicines that have

               been developed to treat this disorder. (Tr.873:12-874:13.)

               PFF108. For BELBUCA, the rate of constipation among both opioid-

               naïve and opioid-experienced patients administered is low and

               “similar to placebo.” JTX-433-0010; JTX-404-0008, 0008; JTX-405-

               0005.

               PFF109. For other opioids, constipation AEs has been reported as

               experienced by up to 70% of patients, and an active bowel regiment is

               typically required to reduce constipation, including the administration

               of prescription drugs. (Tr. 873:12-874:13.)

               PFF110. There has been no evidence that BELBUCA caused

               respiratory depression in any of its clinical trials. (JTX-404-0007;


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             JTX-433-0010; JTX-405-0007.) “Respiratory depression was not

             induced following the administration of BELBUCA to over 2400

             unique subjects.” (Tr.886:3-5; PTX-1060; PTX-1059.) There were

             “just two adverse events of respiratory failure and neither of them

             were considered related to buprenorphine.” (Tr.886:6-8.)

             PFF111. And as a Schedule III drug, doctors are more easily able to

             prescribe and refile prescriptions for BELBUCA without the

             limitations that are required with Schedule II drugs. (Tr.492:9-10,

             874:24-875:12, 766:3-8, 870:23-872:8.)

             PFF112. Butrans® has problems with irritation at the site of

             application, and BELBUCA does not. (Tr. 765:25-766:2, 894:21-

             895:5; JTX-0417-0001, 0009-0010.)

             PFF113. Butrans® was approved only in low doses (maximum of 20

             micrograms per hour) that for many patients is a “limited dose and

             ineffective dose” for many chronic pain patients. (Tr.551:25-552:17,

             915:24-916:11; JTX-417-0001; JTX-0460-0002.) There was a

             concern that Butrans® in doses above 40 micrograms caused an

             elevated risk of QT prolongation. (Tr.896:22-897:12.) Accordingly,

             as of the ’539 patent’s 2012 filing date, Butrans® carried a black box




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             warning about QT risk. (Id.; Tr.552:18-25, 554:18-23; JTX-0417-

             0001.)

             PFF114. BELBUCA never had a black box warning with respect to

             QT prolongation. (JTX-233; Tr. 910:17-911:6.)

       Defendants Finding No. 236. With respect to addiction, abuse or misuse,
       there is no difference between administration by transdermal or buccal
       routes. (Tr. 497:18-21.) With respect to respiratory depression and
       buprenorphine’s ceiling effect, the effects of buprenorphine are the same
       irrespective of how it is administered, including between Butrans®
       (transdermal) and BELBUCA (buccal). (Tr. 501:12-15.) The risk associated
       with QT prolongation is a function of buprenorphine, not the route of
       administration. (Tr. 506:2-4.) The risk of adverse events for BELBUCA is
       similar to the risk associated with Butrans®, are typical for an opioid, and
       are the result of the properties of the buprenorphine itself. (Tr. 501:25-
       503:13.)

       DFF236.      Denied. Butrans® was not available as of the 2006 filing date

 of the ’866 patent and ’843 patents. In terms of the ’539 patent, because of the

 bioavailability of the product, Belbuca delivers higher doses of the medicine than

 Butrans, but in a safe and effective way, as opposed to other opioids. See PFF105-

 114. Further, the differences between Reder (disclosing a transdermal formulation

 like Butrans®) and Vasisht I described above demonstrate that Defendants’

 assertion is false. Resp. DFF178; PFF95-PFF101; Tr.428:18-429:11, 829:11-22;

 DTX-078-0008, col.2:8-16.

       Defendants Finding No. 237. Drugs can be reclassified by DEA due to
       changing circumstances; for example, hydrocodone was a Schedule III for
       decades, but was recently re-classified as a schedule II. (Tr. 488:9-18.)


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       DFF237.      Admitted.

       Defendants Finding No. 238. Buprenorphine was classified as a schedule
       II opioid in 1981 and was re-classified as a schedule III opioid in 2002.
       (JTX-471-0003; Tr. 480:10-17.)

       DFF238.      Admitted.

       Defendants Finding No. 239. As of the early to mid-2000s, Dr. Fine
       testified that he and others of the field began becoming concerned regarding
       the number of opioid related fatal poisonings, and became aware that the
       prescription opioids were starting to fall into the category of substance
       abuse, misuse and diversion. (Tr. 548:13-549:12.)

       DFF239.      Denied. Both Dr. Rauck and Dr. Fine testified that opioid

 abuse, misuse, and addiction disorder was a problem in the early 2000’s, and, in

 any event, prior to 2006. (Tr.548:16-549:8, 864:21-865:21, 935:10-936:22.)

       Defendants Finding No. 240. The earliest documentary evidence in the
       record that points to the opioid crisis was a NCHS Data Brief that was
       published in September 2009. (JTX-410-0002; Tr. 930:19-932:8.) The Data
       Brief highlights trends in fatal opioid analgesic-related poisonings from the
       years 1999-2006. (JTX-410-0001.)

       DFF240.      Denied. JTX-399 was submitted in 2008, and talks about the

 opioid abuse problem as a “serious health problem,” citing a 2005 document that

 relied on 2004 data. Further, the NCHS Data Brief also points to articles published

 prior to 2006 to support its assertions. JTX-399-0002, 0012 n.9; Tr.543:10-544:2,

 546:1-547:19, 931:5-932:5; JTX-410-0007.

       Defendants Finding No. 241. Dr. Rauck testified that although BELBUCA
       has been on the market since 2016, the opioid crisis continues, and
       BELBUCA did not solve the opioid crisis. (Tr. 904:5-905:1.) Dr. Rauck
       concedes that despite the introduction of BELBUCA, there is still a need for
       chronic pain treatment with a lesser potential of addiction, abuse and misuse,
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       stating, “there continues to be an unmet need, absolutely.” (Tr. 910:4-9.) Dr.
       Rauck’s implies that the need may be met by “some really exciting, novel,
       non-opioid analgesics that would hopefully get away from all of this.” (Tr.
       910:4-9.)

       DFF241.       Denied. Trial testimony does not substantiate Defendants’

 proposed “implication.” Dr. Rauck testified that BELBUCA met an unmet need

 for chronic pain patients and provided an alternative to the prescription drugs that

 led to the opioid crisis. (Tr.897:13-898:7, 904:19-23.) The unmet need in question

 is not to solve the opioid crisis, but to provide a safer treatment for chronic pain

 patients, as Dr. Rauck testified to. See PFF105-114.

       Defendants Finding No. 242. The BELBUCA product label contains a
       “Black Box Warning,” which is the highest level of warning required by
       FDA on drug labels. (JTX-233-0001; Tr. 495:14-20, 496:9-13.)

       DFF242.       Admit that the label contains a black box warning but deny that

 is warning is reflective of BELBUCA’s performance in its clinical trials, as

 opposed to a general warning that applies to the class of opioids required by the

 FDA. Tr.909:18-21. For example, BELBUCA has only a small percentage of QT

 prolongation. Tr.896:24-897:12.

       Defendants Finding No. 243. The BELBUCA label states: “BELBUCA
       exposes users to risks of addiction, abuse, and misuse, which can lead to
       overdose and death. Assess a patient’s risk before prescribing and monitor
       regularly for these behaviors and conditions.” (JTX-233-0001; Tr. 496:25-
       497:17, 498:11-499:10.)




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       DFF243.      Admit that the label contains the cited language but deny that is

 reflective of BELBUCA’s performance in its clinical trials, as opposed to a general

 warning that applies to the class of opioids required by the FDA. Tr.909:18-21.

       Defendants Finding No. 244. The BELBUCA label states, “Misuse or
       abuse of BELBUCA by chewing, swallowing, snorting or injecting
       buprenorphine extracted from the buccal film will result in the uncontrolled
       delivery of buprenorphine and pose a significant risk of overdose and
       death.” (JTX-233-3.)

       DFF244.      See Resp. DFF 243.

       Defendants Finding No. 245. The BELBUCA label states “Serious, life-
       threatening, or fatal respiratory depression may occur. Monitor closely,
       especially upon initiation or following a dose increase. Instruct patients on
       proper administration of BELBUCA to reduce risk.” (JTX-233-0001; Tr.
       499:18-500:19.)

       DFF245.      See Resp. DFF 243.

       Defendants Finding No. 246. The BELBUCA label states, under
       “Warnings and Precautions”: “Risk of Prolonged QTc Interval: Avoid in
       patients with Long QT syndrome, family history of Long QT Syndrome, or
       those taking Class IA or Class III antiarrhythmic medications.” (JTX-233-
       0001; Tr. 504:24-506:1, 910:25-911:6.)

       DFF246.      See Resp. DFF 242, PFF105-114.

       Defendants Finding No. 247. The BELBUCA label states: “Do not exceed
       a dose of BELBUCA 900 mcg every 12 hours due to the potential for QTc
       interval prolongation.” (JTX-233-0005; Tr. 915:2-915:16, 916:12-16.)

       DFF247.      See Resp. DFF 243, PFF 79.

       Defendants Finding No. 248. The BELBUCA label states under “Adverse
       Reactions “Most common adverse reactions (>5%) include: nausea,
       constipation, headache, vomiting, dizziness, and somnolence.” (JTX-233-
       0001; Tr. 501:25-502:21.)


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       DFF248.       Admitted.

       Defendants Finding No. 249. The Butrans® label also contains a “Black
       Box Warning.” (DTX-115-0001, Tr. 497:19-498:2.)

       DFF249.       Denied. DTX-115, the label referred to in this finding, is dated

 June 2014, and thus, is not prior art to any of the patents-in-suit and is not relevant.

 (DTX-115-0001.)

       Defendants Finding No. 250. The Butrans® label states: “BUTRANS
       exposes users to risks of addiction, abuse, and misuse, which can lead to
       overdose and death. Assess a patient’s risk before prescribing and monitor
       regularly for these behaviors and conditions.” (DTX-115-0001; Tr. 498:11-
       499:10.)

       DFF250.       Denied. See Resp. DFF249.

       Defendants Finding No. 251. The Butrans® label states: “Serious, life-
       threatening, or fatal respiratory depression may occur. Monitor closely,
       especially upon initiation or following a dose increase. Instruct patients on
       proper administration of Butrans to reduce risk.” (DTX-115-0001; Tr.
       497:22-498:19.)

       DFF251.       Denied. See Resp. DFF249.

       Defendants Finding No. 252. The Butrans® label states, under “Warnings
       and Precautions”: “Avoid in patients with Long QT syndrome, family
       history of Long QT Syndrome, or those taking Class IA or Class III
       antiarrhythmic medications.” (DTX-115-0001; Tr. 504:24-506:1, 910:25-
       911:6.)

       DFF252.       Denied. See Resp. DFF249.

       Defendants Finding No. 253. The Butrans® label states under “Adverse
       Reactions “Most common adverse reactions (>5%) include: nausea,
       headache, application site pruritus, dizziness, constipation, somnolence,
       vomiting, application site erythema, dry mouth, and application site rash.”
       (DTX-115-0001; see also JTX-417-0001; Tr. 502:22-503:13.)


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       DFF253.     Denied. See Resp. DFF249.

       Defendants Finding No. 254. Mr. Guy Donatiello testified as the corporate
       representative of Endo Pharmaceuticals, regarding the relationship between
       Endo Pharmaceuticals and BDSI with respect to the patents-in-suit and
       BELBUCA, contracts, licenses or other agreements concerning the patents-
       in-suit and BELBUCA, any assessments regarding the commercial or
       medical need for BELBUCA, and the basis for Endo’s decision to
       discontinue development and/or commercialization of BELBUCA. (Tr.
       464:6-10; DTX-038-0050-0052.)

       DFF254.     Admitted.

       Defendants Finding No. 255. Effective January 25, 2012, Endo entered
       into a license and development agreement with BDSI regarding BELBUCA
       in which Endo obtained a license to develop, use, commercialize, distribute
       and sell BELBUCA. (Tr. 465:24-466:10; JTX-357-0002; see Tr. 475:10-19)
       Under the terms of the agreement, Endo agreed to pay BDSI an upfront
       payment of 30 million dollars, tens of millions of dollars in the form of
       milestone payments, as well as product royalties. (JTX-0357-0030-33; see
       Tr. 475:10-19.)

       DFF255.     Denied. Endo and BDSI entered a license agreement on

 January 5, 2012. JTX-357-0001; Tr.466:6-10. Endo agreed to pay BDSI up to 180

 million dollars. JTX-357-0030-0032.

       Defendants Finding No. 256. Endo sought priority review from FDA in
       connection with the NDA for BELBUCA, contending that the drug satisfied
       and unmet medical need. The request was denied because there was already
       a Schedule III buprenorphine product available (Butrans®) and Endo had
       failed to provide evidence that BELBUCA would represent a significant
       improvement over existing therapies. (Tr. 507:12-509:4; DTX-112-0004.)

       DFF256.     Denied. The FDA and Dr. Fine addressed only Butrans®, not

 multiple therapies. (DTX-112-0004; Tr.509:5-6.) Further, at that time, there was

 much more limited data available for BELBUCA.

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       Defendants Finding No. 257. Following launch, sales of BELBUCA
       lagged behind Endo’s goal. (Tr. 467:11-19; DTX-043-0003.) According to
       Endo internal meeting minutes, as of June 2016, the unmet need that
       BELBUCA was trying own was not defined in the marketplace. Endo’s
       corporate representative interpreted this statement as indicating, “people
       aren’t aware of the unmet need that BELBUCA is trying to address.” (Tr.
       467:20-468:14; DTX-044-0002.)

       DFF257.      Denied. Mr. Cornwall, who was responsible for marketing

 BELBUCA while at Endo, testified that for BELBUCA, sales were in line with

 what he expected based on where the pain marketplace was at the time. Tr.765:8-

 14. Endo’s corporate representative also testified that the sales of Belbuca were not

 the reason Endo returned Belbuca to BDSI. Tr.473:8-14.

       Defendants Finding No. 258. By December 2016, Endo had made the
       decision to return BELBUCA to BDSI. (Tr. 468:15-470:3; JTX-0358-0001.)
       Endo’s corporate representative testified that the reason for returning
       BELBUCA to BDSI was that Endo intended to get out of the business of
       promoting branded opioids. (Tr. 470:4-471:1.)

       DFF258.      Denied. Endo’s corporate witness testified that the only factor

 he was aware of that influenced Endo’s decision to return BELBUCA to BDSI was

 “the cessation of promoting branded opioids.” Tr.471:5-21; JTX-358.

       Defendants Finding No. 259. Endo continued to sell its oxymorphone
       opioid product Opana® until summer of 2018, at which time it withdrew the
       product from the market due to FDA pressure. (Tr. 560:7-22). Endo still
       sells the opioid analgesic Percocet, which is currently listed on its website.
       (Tr. 492:11-25, 555:16-556:1.)

       DFF259.      Denied. Endo eliminated its entire sales force and stopped

 promoting Opana® as of January 2017. JTX-359-0003; Tr.556:2-12. That it


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 continued to sell Opana as of 2018 is irrelevant. Endo stopped the promotion of

 opioids as of January 2017.

       Defendants Finding No. 260. Dr. Fine and his colleagues do not prescribe
       BELBUCA because there are hosts of other drugs, including other opioids,
       which are sufficient for their patients. These include the opioids morphine,
       oxymorphone, oxycodone, hydromorphone, methadone, hydrocodone,
       fentanyl, Tramadol and Tapentadol. (Tr. 491:2-491:16.)

       DFF260.      Denied. Dr. Fine and his colleagues do not prescribe

 BELBUCA because they continue to underestimate the dangers of schedule II

 opioids. Tr.493:21-494:22, 868:20-869:8, 489:14-490:8, 870:24-872:21.

       Defendants Finding No. 261. Dr. Rauck has been retained as a consultant
       by BDSI independent of his work on this case. (Tr. 898:17-20.) Dr. Rauck
       helped design and implement the BELBUCA clinical trials. (Tr. 900:20-23.)
       Dr. Rauck is also a member of the Speakers’ Bureau for BDSI to market
       drugs to other doctors. (Tr. 900:24-901:13.) BDSI hired Dr. Rauck to
       promote BELBUCA. (Tr. 901:14-20.) In connection with his role as a
       consultant for BDSI, Dr. Rauck has received confidential information that he
       could not share with competitors. (Tr. 900:16-19.) BDSI provides materials
       for Dr. Rauck’s presentations when he has acts on their behalf, and BDSI
       pays Dr. Rauck when he acts as a speaker on their behalf. (Tr. 902:20-
       903:1.)

       DFF261.      Denied. Dr. Rauck is a clinician, not a marketer. He does not

 “market” BELBUCA or any other product, he educates doctors on the drug,

 presenting data and reports from clinical studies. Tr.901:2-902:13, 903:2-6. Given

 his expertise and reputation, many competing companies seek his assistance

 concerning clinical trials, which are confidential. Dr. Rauck abides by the




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 agreements and does not provide confidential material to one competitor about the

 other. (Tr.899:2-900:19.)

       Defendants Finding No. 262. Dr. Rauck prescribes opioids to 70 to 80%
       of his patients. (Tr. 905:2-905:4.) Of those patients on opioids, Dr. Rauck
       prescribes BELBUCA 25% of the time, and other opioids 75% of the time.
       (Tr. 905:5-905:11.) Up to half of all of Dr. Rauck’s patients are prescribed
       Schedule II drugs. (Tr. 905:15-18.) Dr. Rauck currently prescribes fentanyl,
       hydromorphone, oxymorphone, morphine, oxycodone, and hydrocodone for
       the treatment of chronic pain. (Tr. 907:15-908:7.) Dr. Rauck testified that,
       while he still writes Schedule II prescriptions, “I many times wish I didn’t
       write as much as I even do.” (Tr. 926:14-18.) Dr. Rauck testified that “[w]e
       certainly have patients though that either pain condition has required the
       Schedule IIs or we cannot get them to transition over.” (Tr. 908:18-20.)

       DFF262.      Denied. This finding constitutes excerpts of Dr. Rauck’s

 testimony out of context and does not accurately represent his testimony at trial

 concerning his prescribing practices and the benefit of BELBUCA. Tr. 925:21-

 926:25; see PFF105-114. Dr. Rauck also published on successfully transitioning

 patients from schedule II drugs to BELBUCA. (Tr.908:11-17.)

       Defendants Finding No. 263. Buprenorphine is currently classified as a
       Schedule III opioid rather than Schedule II. However, for the treatment of
       chronic pain patients with opioids, there is no relevant difference between
       the two classifications because in either case, current regulatory standards,
       current standards of care, and the patient’s best interest impose a duty to see
       patients face to face on a recurrent basis. (Tr. 488:20-490:8.)

       DFF263.      Denied. The DEA requires more restrictions on schedule II

 drugs because of their potential for abuse. Additionally, schedule II drugs have an

 increased risk of respiratory depression, which can be fatal. (Tr.870:23-872:21.)

 Dr. Rauck testified that safety influences his decision to prescribe BELBUCA over

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 a schedule II drug. BELBUCA is “safer in several aspects” than schedule II drugs

 and is effective at treating chronic pain. Tr.925:21-926:12; see PFF105-114.

       Defendants Finding No. 264. According to Endo, the DEA scheduling of
       BELBUCA ranked among the least relevant factors in terms of driving
       prescription behavior. (Tr. 466:16-467:10; DTX-043-0001.)

       DFF264.      Denied. This document appears to be dated sometime in 2016,

 at which point, BELBUCA has been on the market for less than a year. This

 document does not reflect the advantages of Schedule III drugs. See PFF111.

       Defendants Finding No. 265. The adverse events for BELBUCA are very
       typical for an opioid. (Tr. 501:25-503:13.)

       DFF265.      Denied. PFF105-114.

       Defendants Finding No. 266. The characteristics of BELBUCA with
       respect to respiratory depression and the ceiling effect were not surprising.
       (Tr. 501:16-20.)

       DFF266.      Denied. PFF105-114. Ongoing studies demonstrate that

 BELBUCA has very little to no respiratory depression, which is very different than

 other marketed opioids. Tr.880:23-881:12, 884:24-886:13, 887:16-889:16, 890:2-

 23; PTX-1060-0001; PTX-1059-0001; JTX-473-0007-0010.

       Defendants Finding No. 267. Dr. Fine is aware of no examples of industry
       praise from doctors that were not being paid by BDSI. (Tr. 511:3-6.)

       DFF267.      Denied. Plaintiffs do not understand what is meant “by paid by

 BDSI.” Dr. Rauck is compensated for his time as a consultant.

       Defendants Finding No. 268. Vasisht I discloses all of the elements of
       claims 3-5 and 10 of the ’866 patent, and claims 8 and 20 of the ’843 patent.
       (D.I. 249 at 3; Tr. 232:2-232:13; 238:4-246:15; DDX3.36-DDX3.38)
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       DFF268.     Admitted.

       Defendants Finding No. 269. Paragraph [0063] of U.S. Application No.
       11/817,915 (the U.S. National phase based on Vasisht I, filed January 21,
       2010) discloses the following values and ranges for the pH of the polymeric
       diffusion environment for use with buprenorphine: (a) between about 4.0
       and about 7.5; (b) about 6.0; (c) about 5.5 to about 6.5; (d) between about
       6.0 and 6.5; (e) about 7.25; (f) between about 7.0 and 7.5; and (d) between
       about 7.25 and 7.5. (DTX-017 at [0063].) Dr. Michniak-Kohn testified that
       none of these values or ranges would suggest to a POSA that the patents
       disclose a pH between about 4 and about 6, between about 4.5 and 5.5 or
       between about 4.5 and 5 as recited in the claims. (DTX-206-0011 at [0063],
       Tr. 233:12-234:9.)

       DFF269.     Deny. See PFFs 115-126.

             PFF115. Dr. Michniak-Kohn testified that paragraph 60 of the

             Vasisht-I application describes the pH ranges claimed in the ’866 and

             ‘843 patents in support of her argument that Vasisht-I anticipates the

             claims of the ’866 patent and ’843 patents.

             PFF116. Vasisht-I, however, is the same application as the ’915

             application and shares the same specification. (Tr.292:19-293:10.)

             Vasisht-I is PCT application PCT/US2007/016634. (DTX-017-0001-

             line 21, 0018.) The ’915 application is the same application,

             PCT/US2007/016634. DTX-206-0001, line 86. The paragraphs in

             Vashisht-I (DTX-017) and the ’915 application (DTX-206) are

             numbered slightly different. For this reason, paragraph 60 of Vasisht-

             I, for example, is identical to paragraph 63 of the ’915 application.


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             Dr. Michniak-Kohn thus contradicts herself by arguing that the same

             application dose not describe the pH ranges for priority but does

             describe the pH limitations for anticipation

             PFF117. The ’915 application does describe the pH ranges claimed in

             the ’866 and ’843 patents stating that the pH of the mucoadhesive

             polymeric diffusion environment may be “between about 4.0 and

             about 7.5”, “about 6.0”, and “that all values and ranges between these

             values and ranges are meant to be encompassed by the present

             invention.” (DTX-206, ¶63.) This language supports the claimed

             ranges. (Tr.656:1-657:5.)

             PFF118.Further, ¶63 states that “the pH of the device may be about

             4.0, 4.5, 5.0, 5.5, 6.0, 6.5, 7.0, or 7.5, or any incremental value

             thereof.” (DTX-206, ¶63.)     A POSA would understand that the

             inventors were using the “pH of the device” as a shorthand for “the

             pH of the mucoadhesive layer of the device” in this sentence.

             (Tr.656:24-657:21; 659:13-17.)

             PFF119.The ’915 application only discloses adjusting and measuring

             the pH of the polymeric diffusion environment of the mucoadhesive

             layer. (Tr.657:11-21.) There is no discussion of measuring the pH of

             the device as a whole or the backing layer. (Id.)


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             PFF120.The entirety of ¶63 refers to the pH of various

             “embodiments” of the mucoadhesive polymeric diffusion

             environment. (DTX 206, ¶63.) And the discussion is in a section of

             the patent discussing the polymeric diffusion environment, as shown

             by preceding and later paragraphs. (Tr 657:22-658:7; DTX 206, ¶¶

             62-67.)

             PFF121. Example 1 of the ’915 application teaches making three

             batches of the mucoadhesive layer and adjusting their pH values to 6,

             7.25, and 8.5. (DTX-206, ¶103; Tr.658:8-24.) Devices with

             mucoadhesive layers having these pH values are later referred to in

             the ’915 application as a “device at pH 6,” “a device at pH 7.25,” and

             “a device at pH 8.5.” (Tr.658:25-659:17.) These pH values are

             referring to the pH of the mucoadhesive layers, and the “device at pH

             6” is a shorthand abbreviation. (Tr.659:13-17.) The sentence in ¶63

             was using “pH of the device” in the very same way.

             PFF122. Similarly, the asserted claims of the ’866 and ’843 patents

             are also supported by the ’726 application, which is an earlier

             application filed on July 21, 2006. (Tr.659:24-662:20; JTX-238.)




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             PFF123. The ’726 application describes that “the device comprises a

             mucoadhesive layer comprising buprenorphine and having a pH

             between about 4 and about 7.5.” (JTX-238, ¶18.)

             PFF124. The ’726 application also states, as a shorthand

             abbreviation, that “the pH of the device may be about 4.0, 4.5, 5.0,

             5.5, 6.0, 6.5, 7.0, or 7.5, or any incremental value thereof. (JTX238,

             ¶20; Tr.660:9-18.)

             PFF125. The abstract and the preceding paragraphs make clear that

             the application is only discussing measuring the pH of the

             mucoadhesive layer. (JTX-238-0024, ¶¶ 2, 18, 23; Tr.660:19-

             661:12.)

             PFF126. The ’726 application only teaches measuring the pH of the

             mucoadhesive layer and has an example that only adjusts and

             measures the pH of the mucoadhesive layer. (Tr.661:13-662:20; JTX-

             238, ¶62.)

       Defendants Finding No. 270. The last sentence of paragraph [0063] of the
       ’915 application states “[i]n other embodiments, the pH of the device may be
       about 4.0, 4.5, 5.0, 5.5, 6.0, 6.5, 7.0 or 7.5, or any incremental value
       thereof.” Dr. Michniak-Kohn testified that a POSA would not have
       understood this sentence to refer to the pH of the polymeric diffusion
       environment; rather a POSA would have understood it to refer to the pH of
       the pharmaceutical dosage form (“the device” in the parlance of the asserted
       claims) as whole. (DTX-206-0011 at [0063], Tr. 235:13-238:3.)

       DFF270.     Denied. See PFF115-126.

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       Defendants Finding No. 271. “The device” is a term that appears in all of
       the asserted claims of the ’866 and ’843 patents and is used repeatedly in the
       specification of the ’915 application, e.g., in the Abstract, paragraph [0004]
       of the Brief Summary of the Invention and in paragraph [0091] of the
       Detailed Description of the Invention. In each case, the term “the device”
       refers to the entire pharmaceutical dosage form and is distinct from the
       “polymeric diffusion environment” which comprises but one element of “the
       device.” (DTX-206 at Abstract, [0004], [0091].)

       DFF271.      Denied. See PFF115-126.

       Defendants Finding No. 272. The Abstract and ¶[0020] of Provisional
       Application 60/832,726 (to which the ’915 application claims priority) is
       entirely consistent with that of the ’915 application. The Abstract states that
       the pH of the mucoadhesive layer is between about 4 and about 7.5 and
       ¶[0020] only mentions the pH of “the device.” (JTX-238-0009 at Abstract,
       ¶[0020].)

       DFF272.      Denied. See PFF115-126.

       Defendants Finding No. 273. The demonstrative below, admitted into
       evidence (see Tr. 245:20-246:17) summarizes claims 3 and 10 of the ’866
       patent as compared to Vasisht I.

       DFF273.      Admitted.

       Defendants Finding No. 274. The demonstrative below, admitted into
       evidence (see Tr. 245:20-246:17), summarizes claims 4 and 5 of the ’866
       patent as compared to Vasisht.

       DFF274.      Admitted.

       Defendants Finding No. 275. The demonstrative below, admitted into
       evidence (see Tr. 245:20-246:17), summarizes claims 8-20 of the ’843
       patent as compared to Vasisht.

       DFF275.      Admitted.




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  Date: May 26, 2021                       /s/ Jeremy A. Tigan

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       I hereby certify that on May 26, 2021, I caused the foregoing to be

 electronically filed with the Clerk of the Court using CM/ECF, which will send

 notification of such filing to all registered participants.

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